Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 1 of 86 Page ID #:78




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       ATTORNEYS FOR DEFENDANTS COUNTY OF ORANGE, ORANGE
   8 COUNTY SHERIFF’S DEPARTMENT, DEPUTY RENZI, DEPUTY FAOUR,
       AND DEPUTY KOCHER
   9
                            UNITED STATES DISTRICT COURT
  10
       CENTRAL DISTRICT COURT OF CALIFORNIA – SOUTHERN DIVISION
  11

  12 XAVIER HERMOSILLO, an                         Case No. 8:20-cv-01387-JVS-(ADSx)
     individual; OLGA HERMOSILLO, an
  13 individual and as Successor in Interest       DEFENDANTS’ NOTICE OF
     for Decedent, LUIS HERMOSILLO,                MOTION AND MOTION TO DISMISS
  14                                               PLAINTIFFS’ COMPLAINT AND/OR
                   Plaintiffs,                     FOR A MORE DEFINITE
  15                                               STATEMENT; MEMORANDUM OF
             v.                                    POINTS AND AUTHORITIES;
  16                                               DECLARATION OF JESSE K. COX;
       COUNTY OF ORANGE, a public                  EXHIBITS; [PROPOSED] ORDER
  17 entity; ORANGE COUNTY
       SHERIFF’S DEPARTMENT, a public
  18 entity; DEPUTY RENZI, an individual,
       DEPUTY FAOUR, an individual,                Date: September 14, 2020
  19 DEPUTY KOCHER, an individual, and             Time: 1:30 p.m.
       DOES 1 to 100, inclusive                    Courtroom: 10C
  20

  21               Defendants.                     Action Filed: July 30, 2020
  22                                               Trial Date: Not Scheduled
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          DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 2 of 86 Page ID #:79




   1        TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OR
   2 RECORD:

   3        PLEASE TAKE NOTICE that on September 14, 2020, at 1:30 p.m., or as
   4 soon thereafter as the matter may be heard in Courtroom 10C of the above-entitled

   5 Court, located at 411 West Fourth Street, Santa Ana, California, 92701, Defendants

   6 COUNTY OF ORANGE, ORANGE COUNTY SHERIFF’S DEPARTMENT,

   7 DEPUTY RENZI, DEPUTY FAOUR, and DEPUTY KOCHER (collectively,

   8 “Defendants”) will, and hereby do, move this Court for an order dismissing
   9 Plaintiffs XAVIER HERMOSILLO and OLGA HERMOSILLO’S ( collectively,

  10 “Plaintiffs”) Complaint pursuant to Fed. R. Civ. Proc. 12(b)(6), and/or for a more

  11 definite statement pursuant to Fed. R. Civ. Proc. 8 and 12(e).

  12        Defendants bring this Motion on each of the following grounds:
  13        1.     Plaintiff’s entire case against the Orange County Sheriff’s Department
  14 must be dismissed because the Sheriff’s Department is not a suable entity. See, Fed.

  15 R. Civ. Proc. 12(b)(6); see also, United States v. Kama, 394 F.3d 1236, 1239-1240

  16 (9th Cir. 2005); Dean v. Barber, 951 F.2d 1210 (11th Cir. 1992); Moles v. County of

  17 Linn, 2004 WL 1490324, at *4 (D. Or. 2004); accord Vallas v. City of Chula Vista,

  18 56 Cal.App.3d 382, 387-388 (1976).

  19        2.     Plaintiff Xavier Hermosillo’s entire case against Defendants should be
  20 dismissed because Plaintiff lacks standing to sue for “Violation of Due Process,”

  21 “Municipal Liability,” and “Violation of Civil Code § 52.1,” and because his

  22 purported state claim for “Negligent Infliction of Emotional Distress” is not a

  23 cognizable cause of action. See, Fed. R. Civ. Proc. 12(b)(6).

  24        3.     Plaintiff Olga Hermosillo’s First, Second, Third, Fourth Fifth, and
  25 Seventh Causes of Action as a “Successor in Interest to Luis Hermosillo” must be

  26 dismissed because Plaintiff does not have standing to pursue these “survivorship”

  27 claims. See, Fed. R. Civ. Proc. 12(b)(6); see also, Wishum v. California, 2014 WL

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                                                2
          DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 3 of 86 Page ID #:80




   1 3738067, at *2 (N.D. Cal., 2014); Moreland v. Las Vegas Metro. Police Dep’t, 159

   2 F.3d 365, 369 (9th Cir.1998); Code of Civil Procedure §§ 377.30, 377.32.

   3        4.     Plaintiff Olga Hermosillo’s First Cause of Action for “Violation of
   4 Civil Rights Under Color of Law (42 U.S.C. § 1983)” fails to state a claim upon

   5 which relief can be granted against any Defendant. See, Fed. R. Civ. Proc. 12(b)(6).

   6        5.     Plaintiff Olga Hermosillo’s Second Cause of action for “Violation of
   7 Substantive Due Process (42 U.S.C. § 1983)” fails to state a claim upon which relief

   8 can be granted against any Defendant. See, Fed. R. Civ. Proc. 12(b)(6);
   9        6.     Plaintiff Olga Hermosillo’s Third Cause of Action for “Municipal
  10 Liability for Unconstitutional Custom or Policy – (42 U.S.C. § 1983)” fails to state a

  11 claim upon which relief can be granted against the County of Orange or the Orange

  12 County Sheriff’s Department. See, Fed. R. Civ. Proc. 12(b)(6); see also, A.E. ex rel.

  13 Hernandez v. Cty. of Tulare, 666 F.3d 631, 637 (9th Cir. 2012); Herd v. County of

  14 San Bernardino, 311 F.Supp.3d 1157, 1168 (C.D. Cal. 2018); Maldonado v. County

  15 of Orange, 2019 WL 6139937, at *2 (C.D. Cal. 2019); Moore v. County of Orange,

  16 Case No. 8:17-cv-01024-JVS-(JCG), 2017 WL 10518114, at *3 (C.D. Cal. 2017);

  17 Wilkey v. County of Orange, 2017 WL 11447980, at * (C.D. Cal. 2017);

  18        7.     Plaintiff Olga Hermosillo’s Fifth Cause of Action for “Wrongful
  19 Death/Survival Based on Negligence (Including Negligent Tactics)” fails to state a

  20 claim upon which relief can be granted. See, Fed. R. Civ. Proc. 12(b)(6).

  21        8.     Plaintiff Olga Hermosillo’s Sixth Cause of Action for “Negligent
  22 Infliction of Emotional Distress” against the individual defendants fails to state a

  23 claim upon which relief can be granted. See, Fed. R. Civ. Proc. 12(b)(6).

  24        9.     Plaintiff Olga Hermosillo’s Seventh Cause of Action for “Violation of
  25 The Section 52.1 of the California Civil Code (Bane Act Violations)” fails to state a

  26 claim upon which relief can be granted against any Defendant. See, Fed. R. Civ.

  27 Proc. 12(b)(6);

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          DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 4 of 86 Page ID #:81




   1        10.    Dismissal of Plaintiffs’ entire Complaint is warranted because it
   2 engages in an impermissible “chain letter” and “shotgun” pleading style which

   3 lumps together claims and defendants, thus failing to fairly notify Defendants of the

   4 claims against them. See, Fed. Rs. Civ. Proc. 8 and 12(e); see also, McHenry v.

   5 Renne, 84 F.3d 1172, 1177 (9th Cir. 1996); Anderson v. Dist. Bd. Of Trs. Of Cent.

   6 Fla. Cmty Coll., 77 F.3d 364, 366 (11th Cir. 1996); Rodrigues v. County of Orange,

   7 Case No. 8:20-cv-00298-JVS-(DFM), 2020 WL 3396619, at *3 (C.D. Cal. 2020).

   8        Defendants’ Motion is based on this Notice, the Memorandum of Points and
   9 Authorities, the Declaration of Jesse K. Cox and the exhibits submitted therewith,

  10 Plaintiff’s Complaint (Doc. No. 1-1, pgs. 2-26 of 50), and upon such other and

  11 further matters as may properly come before the Court.

  12        This matter was removed to this Court on July 30, 2020. (See, Notice of
  13 Removal of Civil Action Under 28 U.S.C. § 1441(b) (Federal Question

  14 Jurisdiction), Doc No. 1). Shortly after effecting removal, Defense counsel sent

  15 meet and confer correspondence and attempted to engage with Plaintiff’s counsel

  16 pursuant to Local Rule 7-3 regarding perceived deficiencies in Plaintiff’s pleading.

  17 (See, Defense Correspondence dated July 30, 2020, Exhibit “B,” Declaration of

  18 Jesse K. Cox (“Cox Decl.”), ¶ 4). As of the date of the filing of this Motion,

  19 Defense counsel has not yet received a response from Plaintiffs’ counsel expressing

  20 a willingness to voluntarily amend Plaintiff’s Complaint. (Cox Decl., ¶ 4).

  21 DATED: August 6, 2020                      LYNBERG & WATKINS
  22

  23                                      By:
                                                NORMAN J. WATKINS
  24                                            S. FRANK HARRELL
                                                JESSE K. COX
  25                                            Attorneys for DEFENDANTS
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          DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 5 of 86 Page ID #:82




   1                                                TABLE OF CONTENTS
   2

   3 I.        PRELIMINARY STATEMENT ........................................................................................... 1

   4 II.       THE SHERIFF’S DEPARTMENT IS NOT A SUABLE ENTITY ..................................... 2

   5 III.      PLAINTIFF XAVIER’S ENTIRE CASE AGAINST DEFENDANTS SHOULD
               BE DISMISSED .................................................................................................................... 4
   6
               A.        Third Cause of Action for “Municipal Liability” (42 U.S.C. § 1983) ...................... 4
   7
               B.        Sixth Cause of Action for “Negligent Infliction of Emotional Distress” .................. 6
   8
               C.        Seventh Cause of Action for “Violation of Civil Code § 52.1” ................................ 7
   9
       IV.     PLAINTIFF OLGA DOES NOT HAVE STANDING TO SUE AS A
  10           “SUCCESSOR IN INTEREST” ........................................................................................... 9

  11 V.        PLAINTIFF OLGA’S FIRST CAUSE OF ACTION FAILS ON THE MERITS ................ 9

  12           A.        County of Orange .................................................................................................... 10

  13           B.        Orange County Sheriff’s Department ..................................................................... 11

  14           C.        Deputies Renzi, Faour, and Kocher......................................................................... 12

  15 VI.       PLAINTIFF OLGA’S SECOND CAUSE OF ACTION FAILS TO STATE A
               CLAIM UPON WHICH RELIEF CAN BE GRANTED ................................................... 14
  16
               A.        County of Orange .................................................................................................... 14
  17
               B.        Orange County Sheriff’s Department ..................................................................... 14
  18
               C.        Deputies Renzi, Faour, and Kocher......................................................................... 15
  19
       VII.    PLAINTIFF OLGA FAILS TO SUFFICIENTLY ALLEGE A CAUSE OF
  20           ACTION FOR “MUNICIPAL LIABILITY” ..................................................................... 16

  21 VIII.     PLAINTIFF OLGA’S FIFTH CAUSE OF ACTION FAILS TO STATE A CLAIM
               UPON WHICH RELIEF CAN BE GRANTED ................................................................. 20
  22
       IX.     PLAINTIFF OLGA’S SIXTH CAUSE OF ACTION FAILS TO STATE A
  23           CLAIM UPON WHICH RELIEF CAN BE GRANTED ................................................... 21

  24 X.        PLAINTIFF OLGA FAILS TO SUFFICIENTLY PLEAD A CAUSE OF ACTION
               FOR VIOLATION OF THE BANE ACT .......................................................................... 21
  25
       XI.     PLAINTIFFS’ COMPLAINT FAILS TO PROVIDE FAIR NOTICE TO
  26           DEFENDANTS ................................................................................................................... 23

  27 XII.      CONCLUSION ................................................................................................................... 25

  28
                                                                          i
              DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                    AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 6 of 86 Page ID #:83




   1                                         TABLE OF AUTHORITIES
   2

   3
                                                                                                                     Page(s)

   4 Cases

   5 A.B. v. City of Santa Ana,
          2019 WL 1578380 (C.D. Cal. 2019) ............................................................... passim
   6
       A.E. ex rel. Hernandez v. Cty. of Tulare,
   7     666 F.3d 631 (9th Cir. 2012) .............................................................................. 3, 17
   8 Anderson v. Dist. Bd. Of Trs. Of Cent. Fla. Cmty Coll.,
          77 F.3d 364 (11th Cir. 1996) ........................................................................ 4, 23, 24
   9
       Armendariz v. Penman,
  10    75 F.3d 1311 (9th Cir. 1996) .................................................................................. 10
  11 Ashcroft v. Iqbal,
          556 U.S. 662 (2009) ................................................................................... 12, 13, 17
  12
       Bay Area Rapid Transit Dist. v. Superior Court,
  13    38 Cal.App.4th 141 (1995)................................................................................. 8, 22
  14 Bd. of Cty. Comm’rs v. Brown,
          520 U.S. 397, (1997) .............................................................................................. 11
  15
       Bell Atl. Corp. v. Twombly,
  16    550 U.S. 544, (2007) .................................................................................. 12, 13, 17
  17 Bresaz v. County of Santa Clara,
          136 F.Supp.3d 1125 (N.D. Cal. 2015) ............................................................... 8, 22
  18
       Christensen v. Superior Court,
  19    54 Cal.3d 868 (1991) ................................................................................................ 7
  20 Cochran v. Herzog Engraving Co.,
          155 Cal.App.3d 405 (1984) ...................................................................................... 6
  21
       Cornell v. City of San Francisco,
  22    17 Cal.App.5th 766 (2017)....................................................................................... 8
  23 D.K. ex rel. G.M. v. Solano County Office of Educ.,
          667 F.Supp.2d 1184 (E.D. Cal. 2009) ................................................................ 7, 20
  24
       Dean v. Barber,
  25    951 F.2d 1210 (11th Cir. 1992) ............................................................................ 2, 3
  26 Dura Pharms., Inc. v. Broudo,
          544 U.S. 336 (2005) ............................................................................................... 25
  27

  28
                                                                  ii
            DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                  AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 7 of 86 Page ID #:84



       Estate of Crawley v. McRae,
   1     2015 WL 5432787 (E.D. Cal. 2015) ........................................................................ 5
   2 Gu v. BMW of N. Am., LLC,
          132 Cal.App.4th 195 (2005)............................................................................... 7, 21
   3
       Herd v. County of San Bernardino,
   4    311 F.Supp.3d 1157 (C.D. Cal. 2018)............................................................. passim
   5 Hernandez v. County of Santa Clara,
          2020 WL 3101041 (N.D. Cal. 2020)............................................................ 5, 10, 16
   6
       Hufford v. McEnaney,
   7    249 F.3d 1142 (9th Cir. 2001) .......................................................................... 10, 14
   8 In re Gilead Scis. Sec. Litig.,
          536 F.3d 1049 (9th Cir. 2008) ................................................................................ 17
   9
       In re GlenFed, Inc. Sec. Litig.,
  10     42 F.3d (9th Cir. 1994) ........................................................................................... 25
  11 Johnson v. Baca,
          2013 WL 12131358 (C.D. Cal. 2013) .................................................................... 18
  12
       Lass v. County of Orange,
  13     Case No. SACV 08-01132-JVS-(ANx), 2009 WL 10687551 (C.D. Cal. 2009) ... 23
  14 Lehto v. City of Oxnard,
          171 Cal.App.3d 285 (1985) .................................................................................... 21
  15
       Maldonado v. County of Orange,
  16                                                                  Type text here
        2019 WL 6139937 (C.D. Cal. 2019) .................................................................. 3, 18
  17 Mason v. County of Orange,
          251 F.R.D. 562 (C.D. Cal. 2008) ........................................................................... 24
  18
       McHenry v. Renne,
  19    84 F.3d 1172 (9th Cir. 1996) ........................................................................ 4, 23, 24
  20 Moles v. County of Linn,
          2004 WL 1490324 (D. Or. 2004) ......................................................................... 2, 3
  21
       Monell v. Dep’t of Social Servs. of City of New York,
  22    436 U.S. 658 (1978) ........................................................................................... 4, 11
  23 Moore v. County of Orange,
          Case No. 8:17-cv-01024-JVS-(JCG), 2017 WL 10518114 (C.D. Cal. 2017) .. 3, 17,
  24      18, 23
  25 Moreland v. Las Vegas Metro. Police Dep’t,
          159 F.3d 365 (9th Cir.1998) ............................................................................. 3, 6, 9
  26
       Papasan v. Allain,
  27     478 U.S. 265 (1986) ............................................................................................... 13
  28
                                                                 iii
            DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                  AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 8 of 86 Page ID #:85



       Potter v. Firestone Tire & Rubber Co.,
   1     6 Cal.4th 965 (1993)................................................................................................. 7
   2 Ramsey v. City of Lake Elsinore,
          220 Cal.App.3d 1530 (1990) .............................................................................. 6, 20
   3
       Reese v. Cty. of Sacramento,
   4    888 F.3d 1030 (9th Cir. 2018) ............................................................................ 8, 22
   5 Rendon v. County of Orange,
          2019 WL 4284521 (C.D. Cal. 2019) .................................................... 13, 15, 18, 24
   6
       Rendon v. County of Orange,
   7    2020 WL 974940 (C.D. Cal. 2020) ........................................................................ 13
   8 Rodrigues v. County of Orange,
          Case No. 8:20-cv-00298-JVS-(DFM), 2020 WL 3396619 (C.D. Cal. 2020). passim
   9
       Searcy v. Hemet Unified School Dist.,
  10     177 Cal.App.3d 792 (1986) .......................................................................... 7, 20, 22
  11 Sincerny v. City of Walnut Creek,
          2017 WL 4642432 (N.D. Cal. 2017)................................................................ 11, 14
  12
       Sloman v. City of Simi Valley,
  13     21 F.3d 1462 (9th Cir. 1994) .................................................................................. 19
  14 Smith v. City of Fontana,
          818 F.2d 1411 (9th Cir. 1987) .................................................................................. 4
  15
       Thompson v. City of Los Angeles,
  16    885 F.2d 1439 (9th Cir. 1989) ................................................................................ 19
  17 Trevino v. Gates,
          99 F.3d 911 (9th Cir. 1996) .................................................................................... 19
  18
       United States v. Kama,
  19    394 F.3d 1236 (9th Cir. 2005) .............................................................................. 2, 3
  20 Vallas v. City of Chula Vista,
          56 Cal.App.3d 382 (1976) .................................................................................... 2, 3
  21
       Ward v. City of San Jose,
  22    967 F.2d 280 (9th Cir. 1992) .................................................................................... 5
  23 Wilkey v. County of Orange,
          2017 WL 11447980 ............................................................................................ 3, 17
  24
       Wishum v. California,
  25    2014 WL 3738067 (N.D. Cal., 2014)............................................................... 2, 6, 9
  26

  27

  28
                                                                  iv
            DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                  AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 9 of 86 Page ID #:86




   1
       Statutes

   2 28 U.S.C. § 1331.................................................................................................... 1, 26

   3 28 U.S.C. § 1441(b) ..................................................................................................... 4

   4 42 U.S.C. § 1983................................................................................................. passim

   5 Code of Civil Procedure § 52.1 .......................................................................... passim

   6 Code of Civil Procedure § 377.32 ............................................................................... 6

   7 Code of Civil Procedure § 377.32(a) ........................................................................... 6

   8 Code of Civil Procedure §§ 377.30, 377.32 ............................................................ 3, 9
   9 Evidence Code § 200 ................................................................................................... 3

  10 Government Code § 811.2 ........................................................................................... 3

  11

  12 Rules

  13 Fed. R. Civ. Proc. 8 and 12(e) ............................................................................... 2, 15

  14 Fed. R. Civ. Proc. 8(a)(2) .......................................................................................... 13

  15 Fed. R. Civ. Proc. 12(b)(6) ................................................................................. passim

  16 Fed. R. Civ. Proc. 12.................................................................................................. 15

  17 Fed. R. Civ. Proc. 12(e) ................................................................................. 23, 24, 25

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                                  v
             DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                   AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 10 of 86 Page ID #:87




   1               MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.     PRELIMINARY STATEMENT
   3        Plaintiffs Xavier Hermosillo and Olga Hermosillo (collectively, “Plaintiffs”)
   4 brings this civil action following an alleged officer-involved shooting that occurred

   5 on August 21, 2019, in Stanton, California. According to Plaintiffs, Olga

   6 Hermosillo called for police assistance in response to her son, Decedent Luis

   7 Hermosillo (“Decedent”), “acting abnormal.” (See, Complaint, ¶ 19, Doc. No. 1-1,

   8 Exhibit “A”). Plaintiffs allege that Orange County Sheriff’s Department Deputies
   9 Renzi, Faour, and Kocher responded to the call for service. (See, Complaint, ¶ 20,

  10 Doc. No. 1-1, Exhibit “A”). Plaintiffs further allege the Deputies “entered the

  11 backyard of Plaintiffs’ home,” encountered Decedent and “fired a taser at Decedent

  12 without any verbal warnings.” (See, Complaint, ¶ 20, Doc. 1-1, Exhibit “A”).

  13 Plaintiffs claim that when Decedent “attempted to cut the taser wires with a small

  14 knife, Defendants DEPUTY RENZI, DEPUTY FAOUR, DEPUTY KOCHER,” and

  15 unidentified “Doe” defendants “took out their guns and began to fire at Decedent,

  16 again without warning, shooting him dead.” (See, Complaint, ¶ 20, Doc. 1-1,

  17 Exhibit “A”). Plaintiffs allege Decedent “posed no threat to the life of safety of

  18 Defendants or anyone else,” and that each Plaintiff “contemporaneously witnessed

  19 “DEPUTY RENZI, DEPUTY FAOUR, DEPUTY KOCHER, and the “DOES”

  20 shoot Decedent. (See, Complaint, ¶¶ 20, 21, Doc. No. 1-1, Exhibit “A”).

  21        From this thin narrative predicate, Plaintiffs bring a host of federal and state
  22 law claims against Defendants County of Orange, the Orange County Sheriff’s

  23 Department, Deputy Renzi, Deputy Faour, and Deputy Kocher. These include

  24 claims based on alleged violations of Plaintiffs’ and Decedent’s constitutional rights

  25 under the Fourth and Fourteenth Amendments, made actionable through 42 U.S.C. §

  26 1983. (See generally, Complaint, 9:1-17:9, Doc. No. 1-1, Exhibit “A”). These

  27 claims trigger this Court’s original jurisdiction pursuant to 28 U.S.C. § 1331. On

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          DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 11 of 86 Page ID #:88




   1 this basis, Defendants’ removed this action from state court on July 30, 2020. (See,

   2 Notice of Removal, Doc. No. 1).

   3        Unfortunately, Plaintiffs’ Complaint fails to provide sufficient factual detail
   4 or clarity to give Defendants fair notice as to what Plaintiffs seek in these

   5 proceedings. The problems start with the parties that have elected to file suit:

   6 Xavier and Olga Hermosillo—Decedent’s brother and mother, respectively. As set

   7 forth below, Plaintiffs lack standing to bring the various claims alleged in the

   8 Complaint. Even if Plaintiffs’ standing were not an issue, too many of their asserted
   9 recovery theories are defective on their face and ignore the settled precedent that

  10 bars their application. Further complicating matters, Plaintiffs present their

  11 allegations in an impermissible “shotgun” pleading style, “re-alleging and

  12 incorporat[ing] each and every allegation of each and every paragraph” of text in an

  13 effort to confuse and overwhelm Defendants.

  14        In short, Plaintiffs’ Complaint is plagued with procedural and substantive
  15 maladies that cannot go unaddressed. Defense counsel raised each of the issues

  16 discussed in this Motion with Plaintiffs’ counsel by way of detailed correspondence,

  17 consistent with Local Rule 7-3. (See, Defense Correspondence dated July 30, 2020,

  18 Exhibit “B”). As of the date of the filing of this Motion, Defense counsel has not

  19 received a response from Plaintiffs’ counsel expressing a willingness to voluntarily

  20 amend Plaintiffs’ Complaint (or any response at all). (Cox Decl., ¶ 4).

  21        Accordingly, for the reasons set forth in further detail below, Defendants
  22 respectfully request that their Motion be granted as prayed.

  23 II.    THE SHERIFF’S DEPARTMENT IS NOT A SUABLE ENTITY
  24        Plaintiffs level six of their seven purported causes of action against the
  25 Orange County Sheriff’s Department. (See, Complaint, 9:1-11:25, 12:1-14:6, 14:7-

  26 17:9, 17:10-19:14, 19:15-21:20, 23:5-24:16, Doc. No. 1-1, Exhibit “A”). It is well-

  27 settled, however, that a law enforcement department is a non-suable entity inasmuch

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           DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                 AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 12 of 86 Page ID #:89




   1 as it is not a public entity itself, but rather a part of the suable public entity: here, the

   2 County of Orange. See, United States v. Kama, 394 F.3d 1236, 1239-1240 (9th Cir.

   3 2005) (“[M]unicipal police departments and bureaus are generally not considered

   4 “persons” within the meaning of 42 U.S.C. § 1983.”); Dean v. Barber, 951 F.2d

   5 1210 (11th Cir. 1992) (county sheriff’s department cannot be sued under section

   6 1983); Moles v. County of Linn, 2004 WL 1490324, at *4 (D. Or. 2004) (“[T]he

   7 Linn County Sheriff's Office is not a ‘person’ subject to liability under section 1983.

   8 Municipal departments, commissions and associations, such as police, sheriff and
   9 corrections departments cannot be sued under section 1983.”); see also, Vallas v.

  10 City of Chula Vista, 56 Cal.App.3d 382, 387-388 (1976) (“We are provided no

  11 authority for the position that the police department is a ‘public entity’ within the

  12 meaning of the section. Evidence Code section 200 defines a public entity as ‘a

  13 nation, state, county, city and county, city, district, public authority, public agency,

  14 or any other political subdivision or public corporation, whether foreign or

  15 domestic.’ While ‘public agency’ may be a somewhat vague term, its use as a part

  16 of a definition of ‘public entity’ must contemplate a body with some degree of

  17 sovereignty. Each of the listed entities as well as the classification found in the

  18 concluding language, ‘or any other political subdivision or public corporation,’

  19 describes an independent body politic with sovereignty and not a department or

  20 office within the entity. To construe ‘public agency’ any other way would be to

  21 destroy the concept of ‘entity.’ We note, too, the Law Revision Commission

  22 comment to section 811.2 of the Government Code, which defines ‘public entity’ in

  23 a similar fashion, states the definition ‘is intended to include every kind of political

  24 or governmental entity in the state.’ None of the definitions of ‘public agency’ we

  25 have been able to find would include a department of a city as such. We must

  26 conclude the police department is merely an integral part of a public entity and

  27 not an entity itself.”) (emphasis added).

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          DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 13 of 86 Page ID #:90




   1         Based on the foregoing, Plaintiffs’ entire Complaint against the Orange
   2 County Sheriff’s Department must be dismissed. See, Fed. R. Civ. Proc. 12(b)(6).

   3 III.    PLAINTIFF XAVIER’S ENTIRE CASE AGAINST DEFENDANTS
   4         SHOULD BE DISMISSED
   5         Plaintiff Xavier Hermosillo purports to be the “natural brother” of Decedent.
   6 (See, Complaint, 4:3-6, Doc. No. 1-1, Exhibit “A”). Relying on the claim headings,

   7 Plaintiff Xavier identifies as a party to the Third Cause of Action (Municipal

   8 Liability), Sixth Cause of Action (Negligent Infliction of Emotional Distress), and
   9 Seventh Cause of Action (Violation of California Civil Code Section 52.1). It also

  10 appears Plaintiff Xavier seeks recovery on the Second Cause of Action (Violation of

  11 Substantive Due Process). But Plaintiff Xavier cannot pursue any of the alleged

  12 theories of recovery.

  13         A.    Third Cause of Action for “Municipal Liability” (42 U.S.C. § 1983)
  14         Plaintiff Xavier does not have standing to sue for alleged “Municipal
  15 Liability.” (See generally, Complaint, 14:7-17:9, Doc. No. 1-1, Exhibit “A”). “A

  16 local governmental entity can be sued under § 1983 where a municipal policy or

  17 custom has caused an alleged violation of constitutional rights.” Herd v. County of

  18 San Bernardino, 311 F.Supp.3d 1157, 1166 (C.D. Cal. 2018) (citing Monell v. Dep’t

  19 of Social Servs. of City of New York, 436 U.S. 658, 690–691 (1978)).

  20 Constitutional rights are personal rights that cannot be vicariously asserted. See,

  21 Herd, supra, 311 F.Supp.3d at 1165; see also, Smith v. City of Fontana, 818 F.2d

  22 1411, 1417 (9th Cir. 1987), overruled on other grounds by Hodgers-Durgin v. de la

  23 Vina, 199 F.3d 1037 (9th Cir. 1999) (children of…decedent could not maintain

  24 personal causes of action on theory that Fourth Amendment had been violated

  25 because “[t]he children were not directly subjected to the excessive use of state

  26 force and therefore cannot maintain personal causes of action under section 1983 in

  27 reliance on this Fourth Amendment theory.”); Alderman v. United States, 394

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            DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                  AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 14 of 86 Page ID #:91




   1 U.S.165,174 (1969) (“Fourth Amendment rights are personal rights which…may not

   2 be vicariously asserted.”). At no point in the Third Cause of Action are any facts

   3 alleged suggesting even an inference that the conduct of any individual defendant

   4 was motivated by a policy, practice, or custom of an entity defendant and thereby

   5 violated Plaintiff Xavier’s specific constitutional rights. By way of example,

   6 Plaintiff Xavier does not allege that “excessive force” was used against him.

   7         To the extent Plaintiff Xavier may be relying on a theory of “substantive due
   8 process,” and that some Fourteenth Amendment right was infringed by the killing of
   9 his brother, this theory is meritless because Plaintiff Xavier does not have standing

  10 to advance such a claim. See, Estate of Crawley v. McRae, 2015 WL 5432787, at

  11 *35 (E.D. Cal. 2015) (decedent’s siblings “substantive due process claim fails as a

  12 matter of law because he has no actionable constitutionally protected interest.”);

  13 Ward v. City of San Jose, 967 F.2d 280, 284 (9th Cir. 1992) (sibling does not have

  14 any constitutionally protected interest in brother’s companionship under Section

  15 1983).1

  16         Plaintiff Xavier also cannot advance a “Municipal Liability” claim under any
  17 “wrongful death” theory. Only survivor actions—and not “wrongful death”

  18 actions—may be brought pursuant 42 U.S.C. § 1983. See, Herd, supra, 311

  19 F.Supp.3d at 1165; see also, Hernandez v. County of Santa Clara, 2020 WL

  20 3101041, at *3 (N.D. Cal. 2020) (“[T]here is no ‘wrongful death’ claim under §

  21 1983.”); A.B. v. City of Santa Ana, 2019 WL 1578380, at *6 (C.D. Cal. 2019)

  22 (“‘[C]ase law is clear that only survivor action may be brought pursuant to 42

  23
       1
  24    For this reason, Plaintiff Xavier likewise does not have standing to make any claim
       for “Violation of Substantive Due Process” in the Second Cause of Action. Though
  25   Plaintiff Xavier is not identified as a party to this claim in the claim heading, his
  26   name does appear at various times and places throughout the claim’s text. (See,
       Complaint, ¶¶ 38, 41, 42, 43, 45, Doc. No. 1-1, Exhibit “A”). The authorities cited
  27   here bar any purported “substantive due process” claim by Plaintiff Xavier. See,
  28   Estate of Crawley, supra, 2015 WL 5432787, at *35; Ward, supra, 967 F.2d at 284.
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           DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                 AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 15 of 86 Page ID #:92




   1 U.S.C. § 1983.’”) (quoting Herd, supra, 311 F.Supp.3d at 1165).

   2         While survivorship actions are permitted under 42 U.S.C. § 1983 so long as
   3 the state in which the action is filed authorizes such a claim, Plaintiff Xavier has not

   4 satisfied the statutory prerequisites for pursuing any survivorship claim. In

   5 California, a successor in interest “seeking to commence an action” on behalf of a

   6 decedent shall execute and file an affidavit that conforms with the enumerated

   7 requirements of Code of Civil Procedure § 377.32(a). See, Wishum v. California,

   8 2014 WL 3738067, at *2 (N.D. Cal., 2014) (“Section 377.32 requires any party
   9 seeking to commence an action as a decedent’s successor in interest to file an

  10 affidavit or declaration stating the basis for that designation.”). It is Plaintiff

  11 Xavier’s obligation to prove he meets the state’s requirements for bringing a

  12 survival action, and he simply has not met his burden. See, Moreland v. Las Vegas

  13 Metro. Police Dep’t, 159 F.3d 365, 369 (9th Cir.1998).

  14         Accordingly, Plaintiff Xavier’s Third Cause of Action must be dismissed.
  15         B.     Sixth Cause of Action for “Negligent Infliction of Emotional
  16                Distress”
  17         By rule, “[p]ublic liability for personal injuries is defined and limited by
  18 statute.” Ramsey v. City of Lake Elsinore, 220 Cal.App.3d 1530, 1536 (1990);

  19 Cochran v. Herzog Engraving Co., 155 Cal.App.3d 405, 409 (1984) (“In California,

  20 all government tort liability must be based on statute.”). As summarized by the

  21 Court of Appeal:

  22
             [In order] to state a cause of action [for government tort liability],
             every fact essential to the existence of a statutory liability must be
  23         pleaded with particularity, including the existence of a statutory
  24
             duty. Duty cannot be alleged simply by stating, ‘defendant had a duty
             under the law’; that is a conclusion of law, not an allegation of fact.
  25         The facts showing the existence of the claimed duty must be alleged.”
  26         [Citation omitted.] “Since the duty of a governmental agency can
             only be created by statute or ‘enactment,’ the statute or ‘enactment’
  27         must at the very least be identified [in plaintiff’s complaint].”
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          DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 16 of 86 Page ID #:93




   1 Searcy v. Hemet Unified School Dist., 177 Cal.App.3d 792, 802 (1986) (emphasis

   2 added).

   3        These pleading rules are applicable to state law claims pursued in federal
   4 court. See, D.K. ex rel. G.M. v. Solano County Office of Educ., 667 F.Supp.2d

   5 1184, 1198 (E.D. Cal. 2009) (citing Searcy with approval and dismissing plaintiffs’

   6 state law claim for failure to identify an authorizing statute).

   7        Plaintiff Xavier’s Sixth Cause of Action for “Negligent Infliction of
   8 Emotional Distress” (“NIED”) proceeds as if the foregoing authority had never been
   9 published. Indeed, NIED is not even a stand-alone cause of action under California

  10 law—let alone one that meets the statutory authorization requirement in suits against

  11 public entities and their employees. See, Gu v. BMW of N. Am., LLC, 132

  12 Cal.App.4th 195, 204 (2005) (“[T]he California Supreme Court has emphasized that

  13 ‘there is no independent tort of negligent infliction of emotional distress.’”)

  14 (emphasis added); Potter v. Firestone Tire & Rubber Co., 6 Cal.4th 965, 984 (1993)

  15 (“[T]here is no independent tort of negligent infliction of emotional distress.”)

  16 (internal citation omitted); Christensen v. Superior Court, 54 Cal.3d 868, 884 (1991)

  17 (“Negligent infliction of emotional distress is not an independent tort….”).

  18        Here, Plaintiff Xavier’s “NIED” claim fails to satisfy California’s heightened
  19 pleading requirements. The claim must therefore be dismissed.

  20        C.     Seventh Cause of Action for “Violation of Civil Code § 52.1”
  21        The Bane Act, codified at California Civil Code § 52.1, provides a cause of
  22 action if “a person or persons, whether or not acting under color of law, interferes by

  23 threat, intimidation, or coercion, or attempts to interfere by threat, intimidation, or

  24 coercion, with the exercise or enjoyment by any individual or individuals of rights

  25 secured by the Constitution or laws of the United States, or of the rights secured by

  26 the Constitution or laws of this state.” In seizure cases, California courts and the

  27 Ninth Circuit have clarified that a claim for relief under § 52.1 additionally requires

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          DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 17 of 86 Page ID #:94




   1 “a specific intent to violate the arrestee’s right to freedom from unreasonable

   2 seizure.” Reese v. Cty. of Sacramento, 888 F.3d 1030, 1043 (9th Cir. 2018)

   3 (quoting Cornell v. City of San Francisco, 17 Cal.App.5th 766, 801 (2017)).

   4 Accordingly, a plaintiff must allege that defendants “intended not only the force, but

   5 [also] its unreasonableness.” Reese, supra, 888 F.3d at 1045 (internal quotations

   6 and citations omitted).

   7        “[The Bane Act] is limited to plaintiffs who themselves have been the subject
   8 of violence or threats.” Bay Area Rapid Transit Dist. v. Superior Court, 38
   9 Cal.App.4th 141, 144 (1995). Put differently, “a party lacks standing to bring a

  10 claim under the Bane Act when the party does not claim to have personally suffered

  11 a violation of a constitutional or statutory right.” (emphasis original). Bresaz v.

  12 County of Santa Clara, 136 F.Supp.3d 1125, 1137 (N.D. Cal. 2015). The

  13 concomitant rule flowing from this is that “[t]he Bane Act is simply not a wrongful

  14 death provision.” Bay Area, supra, 38 Cal.App.4th at 144.

  15        Here, Plaintiff Xavier does not make a single factual allegation that any
  16 defendant interfered with any of his rights by “threat, intimidation, or coercion.”

  17 (See generally, Complaint, 23:5-24:16, Doc. No. 1-1, Exhibit “A”). Instead,

  18 Plaintiff’s allegations focus exclusively on Decedent Luis Hermosillo being

  19 subjected to alleged “excessive force,” and alleged violation of “LUIS

  20 HERMOSILLO’S civil rights as protected by section 52.1 of the Civil Code.” (See,

  21 Complaint, 23:23-24:2, 24:10-11, Doc. No. 1-1, Exhibit “A”). As Plaintiff Xavier

  22 has not alleged facts specific to him, and because he cannot pursue this claim under

  23 any “wrongful death” theory, he has no standing to pursue this claim as an

  24 individual plaintiff.

  25        Plaintiff Xavier also may not presently proceed as a “successor in interest” to
  26 Decedent’s estate on this claim. As discussed above, Plaintiff Xavier has not

  27 satisfied the statutory requirements for establishing that he is a recognized

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          DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 18 of 86 Page ID #:95




   1 “successor-in-interest. (See, Section II.A., supra).

   2            Based on the above, Plaintiff Xavier lacks standing on his Seventh Cause of
   3 Action, and the claim should therefore be dismissed. The foregoing discussion also

   4 establishes that as pled, Plaintiff Xavier is not a proper party to this lawsuit.

   5 Defendants therefore respectfully request that Plaintiff Xavier’s case against

   6 Defendants be dismissed in its entirety. See, Fed. R. Civ. Proc. 12(b)(6).

   7 IV.        PLAINTIFF OLGA DOES NOT HAVE STANDING TO SUE AS A
   8            “SUCCESSOR IN INTEREST”
   9            Plaintiff Olga Hermosillo asserts her First, Second, Fourth, and Fifth Causes
  10 of Action as “Successor in Interest to Luis Hermosillo.” (See, Complaint, 9:1-4,

  11 12:1-4, 17:10-12, 19:-15-18, Doc. No 1-1, Exhibit “A”).2 These claims implicate

  12 federal and state theories of recovery. To have standing to pursue any of these

  13 theories, Plaintiff Olga is required to execute a statutory declaration that affirms her

  14 legal status as a successor in interest to Decedent’s estate. See, Wishum, supra,

  15 2014 WL 3738067, at *2; Moreland, supra, 159 F.3d at 369; see also, Code of Civil

  16 Procedure §§ 377.30, 377.32.

  17            Plaintiff Olga has not filed the required successor in interest declaration for
  18 asserting any survivorship action. She therefore lacks standing in any purported

  19 “survivorship” capacity, and her claims to that effect must be dismissed.

  20 V.         PLAINTIFF OLGA’S FIRST CAUSE OF ACTION FAILS ON THE
  21            MERITS
  22            As best as Defendants can tell, in her First Cause of Action Plaintiff Olga
  23

  24   2
           It is unclear whether Plaintiff Olga attempts to sue as a “successor in interest” on
  25 the Third Cause of Action for “Municipal Liability” and the Seventh Cause of

  26 Action for “Bane Act” violations. (See, Complaint, 14:7-17:9, 23:5-24:16, Doc. No.
       1-1, Exhibit “A”) (referencing “All Plaintiffs,” but failing to specify the capacity in
  27 which any plaintiff proceeds). To the extent she is, the discussion herein forecloses

  28 any suit by Plaintiff Olga in this capacity.
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             DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                   AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 19 of 86 Page ID #:96




   1 Hermosillo sues “All Defendants” for “excessive force” arising from Deputies

   2 Renzi, Faour, and Kocher’s alleged interaction with Decedent on August 21, 2019.

   3 As discussed above, Plaintiff lacks standing to bring this claim as Decedent’s

   4 successor in interest. (See, Section IV, supra). Though she claims she is also

   5 proceeding “Individually as Heir at Law,” no such capacity exists because 42 U.S.C.

   6 § 1983 does not provide for “wrongful death” actions. See, Hernandez, supra, 2020

   7 WL 3101041, at *3; A.B., supra, 2019 WL 1578380, at *6.

   8        The only remaining avenue for Plaintiff to pursue this claim is for an alleged
   9 violation of her constitutional rights. But even a cursory review of the pleading

  10 reveals there are no facts pled demonstrating an alleged constitutional violation as

  11 regards Plaintiff. Instead, Plaintiff’s allegations focus on alleged “excessive force”

  12 against Decedent in violation of the Fourth Amendment. (See, 9:7-10, Doc. No. 1-

  13 1, Exhibit “A”) (stating this action is “brought pursuant to 42 U.S.C. § 1983…for an

  14 alleged unreasonable seizure of the person including the use of unreasonable and

  15 excessive force…by Defendants…against Decedent LUIS HERMOSILLO.”).

  16 Though the claim makes reference to “the Fourteenth Amendment” and “violation

  17 of liberty interest,” these allegations do not give rise to any individual “excessive

  18 force” claim by Plaintiff Olga. See, Hufford v. McEnaney, 249 F.3d 1142, 1151

  19 (9th Cir. 2001) (“If, in a Section 1983 suit, the plaintiff’s claims can be analyzed

  20 under an explicit textual source of rights in the Constitution, a court should not

  21 resort to the ‘more subjective standard of substantive due process.’”) (citing

  22 Armendariz v. Penman, 75 F.3d 1311, 1319 (9th Cir. 1996)).

  23        Even if Plaintiff could navigate around the above-described pitfalls, this claim
  24 fails as alleged with respect to each and every defendant.

  25        A.     County of Orange
  26        For starters, the County is not a proper party to this claim. It is well settled
  27 that a “municipality cannot...be held liable under § 1983 ‘solely because it employs

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          DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 20 of 86 Page ID #:97




   1 a tortfeasor--or, in other words, a municipality cannot be held liable under § 1983 on

   2 a respondeat superior theory.’” Herd, supra, 311 F.Supp.3d 1166 (quoting, Monell,

   3 supra, 436 U.S. at 691); see, Bd. of Cty. Comm’rs v. Brown, 520 U.S. 397, 403,

   4 (1997) (“We have consistently refused to hold municipalities liable under a theory

   5 of respondeat superior”; it is only when an explicit or tacit wrongful government

   6 “policy or custom” causes government employees to inflict an injury that a

   7 government entity may be liable under Section 1983); Sincerny v. City of Walnut

   8 Creek, 2017 WL 4642432, at *3 (N.D. Cal. 2017) (“‘A government entity may not
   9 be held liable under 42 U.S.C. § 1983, unless a policy, practice, or custom of the

  10 entity can be shown to be a moving force behind a violation of constitutional

  11 rights.’”) (internal citation omitted). Additionally, only “‘a longstanding practice or

  12 custom which constitutes the ‘standard operating procedure’ of the local government

  13 entity’” will support the imposition of municipal liability. Herd, supra, 311

  14 F.Supp.3d at 1167 (internal citation omitted).

  15        Plaintiff’s First Cause of Action fails to set forth any facts to support a theory
  16 that the County had an unlawful policy, practice, or custom required to maintain a

  17 claim against a municipal entity. From what Defendants can tell, those allegations

  18 appear to be reserved for Plaintiff’s “Municipal Liability” claim, asserted as

  19 Plaintiff’s Third Cause of Action. (See, Complaint, 14:7-17:9, Doc. No. 1-1,

  20 Exhibit “A”). As such, the County should be dismissed from this cause of action.

  21 See, Rodrigues v. County of Orange, Case No. 8:20-cv-00298-JVS-(DFM), 2020

  22 WL 3396619, at *3-4 (C.D. Cal. 2020) (granting Rule 12(b)(6) motion to dismiss

  23 “excessive force” claim against county where plaintiff failed to plead facts alleging

  24 a municipal policy, practice, or custom caused a constitutional violation).

  25        B.     Orange County Sheriff’s Department
  26        As discussed in Section II, supra, the Sheriff’s Department is a non-suable
  27 entity. Plaintiff’s “excessive force” claim against it must therefore be dismissed.

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          DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 21 of 86 Page ID #:98




   1        C.     Deputies Renzi, Faour, and Kocher
   2        Plaintiff’s claim against the individual defendants is legally deficient for a
   3 number of reasons. First of all, it is riddled with legal conclusions and other

   4 conclusory buzzwords such that it fails to meet basic pleading standards. At no

   5 point does Plaintiff assert any facts that speak to the governing standard on an

   6 “excessive force” claim: reasonableness under the circumstances. Instead, Plaintiff

   7 makes meaningless, bald assertions that Defendants “intentionally used

   8 unreasonable and excessive force…in violation of 42 U.S.C. § 1983, and in
   9 violation of the Fourth and Fourteenth Amendments to the United States

  10 Constitution.” (See, Complaint, 9:14-17, Doc. No. 1-1, Exhibit “A”). She goes on:

  11 “Unreasonable, unnecessary, and/or excessive force was used by Defendants

  12 DEPUTY RENZI, DEPUTY FAOUR, [and] DEPUTY KOCHER…. ¶ Defendants

  13 DEPUTY RENZI, DEPUTY FAOUR, [and] DEPUTY KOCHER…had an

  14 obligation to only use reasonable force rather than to use unreasonable, unnecessary,

  15 or excessive force.” (See, Complaint, 9:22-24, Doc. No. 1-1, Exhibit “A”). More:

  16 “The…acts of Defendants DEPUTY RENZI, DEPUTY FAOUR, [and] DEPUTY

  17 KOCHER…were malicious, willful, oppressive and despicable conduct as herein

  18 alleged, as each aforementioned defendant acted with a conscious disregard for the

  19 rights and safety of Decedent, LUIS HERMOSILLO and said defendants acted with

  20 the specific intent to injure and kill Decedent….” (See, Complaint, 10:4-8, Doc.

  21 No. 1-1, Exhibit “A”).

  22        Plaintiff cannot “plead facts that are merely consistent with a defendant’s
  23 liability,” as “threadbare recitals of the elements of a cause of action, supported by

  24 mere conclusory statements do not suffice.” Ashcroft v. Iqbal 556 U.S. 662, 678

  25 (2009); see, Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, (2007) (“[A] plaintiff’s

  26 obligation to provide the ‘grounds’ of his ‘entitlement to relief’ requires more than

  27 labels and conclusions, and a formulaic recitation of the elements of a cause of

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          DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 22 of 86 Page ID #:99




   1 action will not do.”) (internal citations omitted). Nor are the types of legal

   2 conclusions on offer from Plaintiff here sufficient to satisfy federal pleading

   3 standards. See, Iqbal, supra, 556 U.S.at 678 (“[T]he tenet that a court must accept

   4 as true all of the allegations contained in a complaint is inapplicable to legal

   5 conclusions.”); Twombly, supra, 550 U.S. at 570 (“courts ‘are not bound to accept

   6 as true a legal conclusion couched as a factual allegation.’”) (quoting Papasan v.

   7 Allain, 478 U.S. 265, 286 (1986)).

   8          Making matters worse, Plaintiff fails to specify, with facts, what each
   9 individual defendant supposedly did wrong to cause Plaintiff’s alleged harm.

  10 Instead, she repeatedly refers to the deputies as a group, and thereby deprives each

  11 of fair notice and the ability to defend himself effectively. (See, Complaint, 9:7-11,

  12 9:12-21, 10:4-9, 10:14-17, Doc. No. 1-1, Exhibit “A”). This is unacceptable, as

  13 “‘[a] plaintiff suing multiple defendants’ cannot simply ‘lump[ ] defendants ...

  14 together’ but instead ‘must allege the basis of [her] claim against each defendant to

  15 satisfy Federal Rule of Civil Procedure 8(a)(2).’” See, Rendon v. County of

  16 Orange, 2019 WL 4284521, at *2 (C.D. Cal. 2019) (internal citation omitted). Put

  17 differently, “a complaint ‘must identify what action each Defendant took that caused

  18 [the plaintiff’s] harm, without resort to generalized allegations against Defendants as

  19 a whole.’” See, Rendon v. County of Orange, 2020 WL 974940, at *3 (C.D. Cal.

  20 2020) (internal citation omitted). “When a pleading fails ‘to allege what role each

  21 Defendant played in the alleged harm,’ this ‘makes it exceedingly difficult, if not

  22 impossible, for individual Defendants to respond to Plaintiffs’ allegations.’”

  23 Sebastian Brown Prods., LLC v. Muzooka, Inc., 143 F.Supp.3d 1026, 1037 (N.D.

  24 Cal. 2015) (internal citation omitted).

  25          Accordingly, Plaintiff Olga’s First Cause of Action must be dismissed on the
  26 merits. See, Fed. R. Civ. Proc. 12(b)(6).

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             DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                   AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 23 of 86 Page ID #:100




    1 VI.    PLAINTIFF OLGA’S SECOND CAUSE OF ACTION FAILS TO
    2        STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED
    3        Plaintiff Olga purports to assert her Second Cause of Action as “Successor in
    4 Interest to Luis Hermosillo.” (See, Complaint for Damages, 12:1-4, Doc. No. 1-1,

    5 Exhibit “A,” Cox Decl., ¶ 3). As discussed above, she has not established herself as

    6 a “successor in interest” to Decedent’s estate. (See, Section IV, supra). Even if she

    7 had, the theory advanced by Plaintiff in this cause of action is not a proper

    8 “survivorship” claim. Prior to dying, Decedent did not have a “substantive due
    9 process” claim for alleged interference with his familial relationship with Plaintiff

   10 Olga. While he may have had a claim for “excessive force,” as stated above that

   11 claim has its textual source in the Fourth Amendment, not the “due process”

   12 provisions of the Fourteenth Amendment. See, Hufford, supra, 249 F.3d at 1151.

   13 Accordingly, there is no “survivorship” theory applicable to this claim.

   14        In terms of her individual capacity, and giving the Complaint a generous
   15 reading, Plaintiff Olga’s attempt to proceed against “All Defendants” falls flat.

   16        A.     County of Orange
   17        This being another claim under 42 U.S.C. § 1983, Plaintiff Olga may not
   18 proceed against the County on a respondeat superior theory of liability. See, Herd,

   19 supra, 311 F.Supp.3d 1166. Instead, she much allege facts that demonstrate

   20 constitutional harm caused by municipal policy, practice, or custom. Sincerny,

   21 supra, 2017 WL 4642432, at *3. She has not done so. Indeed, the words “County”

   22 or “County of Orange” do not even appear in this case of action. (See generally,

   23 Complaint, 12:1-14:6, Doc. No 1-1, Exhibit “A”). Accordingly, the claim against

   24 the County fails as a matter of law. See, Rodrigues, supra, 8:20-cv-00298-JVS-

   25 (DFM), 2020 WL 3396619, at *3-4.

   26        B.     Orange County Sheriff’s Department
   27        As discussed in Section II, supra, the Sheriff’s Department is a non-suable
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            DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                  AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 24 of 86 Page ID #:101




    1 entity. Plaintiff’s “substantive due process” claim against it must be dismissed.

    2          C.    Deputies Renzi, Faour, and Kocher
    3          Similar to her “excessive force” claim, Plaintiff Olga’s “Substantive Due
    4 Process” claim against the individual deputies fails to state facts sufficient to

    5 recover against these defendants. Once again, Plaintiff’s pleading is jammed with

    6 conclusory phrases and empty legal jargon that merely parrots the language of a

    7 “familial association” claim, without providing the required facts. (See, e.g.,

    8 Complaint, ¶ 39 (describing the deputies’ use of force as “so outrageous that it
    9 shocks the conscience”); ¶ 41 (describing the actions of the deputies as “shock[ing]

   10 the conscience, in that they acted with deliberate indifference to the constitutional

   11 rights of Decedent, LUIS HEMOSILLO, and/or with purpose to harm unrelated to

   12 any legitimate law enforcement objective.”), Doc. No. 1-1, Exhibit “A”). This is

   13 unacceptable, as threadbare recitals of the elements of a cause of action do not

   14 satisfy the federal pleading standards.

   15          Also similar to her “excessive force” claim, Plaintiff has resorted to lumping
   16 together the individual defendants and not alleging facts as to who did what wrong

   17 to whom. Without specification as to which defendant did what and supposedly

   18 caused harm, Plaintiff’s claim fails to meet Rule 8’s pleading threshold. See,

   19 Rendon, supra, 2019 WL 4284521, at *2 (granting Rule 12 motion to dismiss where

   20 plaintiff failed to identify which conduct was attributable to multiple individual

   21 defendants, reasoning that “without disaggregation of Plaintiff’s lumped

   22 allegations,” [the defendants] are not on fair notice of the misconduct with which

   23 they are respectively charged…”).

   24          Based on the foregoing, Plaintiff Olga’s Second Cause of Action against “All
   25 Defendants” should be dismissed on the merits. See, Fed. R. Civ. Proc. 12(b)(6).

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              DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                    AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 25 of 86 Page ID #:102




    1 VII. PLAINTIFF OLGA FAILS TO SUFFICIENTLY ALLEGE A CAUSE

    2        OF ACTION FOR “MUNICIPAL LIABILITY”
    3        Plaintiff Olga brings her Third Cause of Action for “Municipal Liability”
    4 under 42 U.S.C. § 1983 against the County and the Sheriff’s Department. (See,

    5 Complaint, 14:7-17:9, Doc. No. 1-1, Exhibit “A”). As discussed above, the

    6 Sheriff’s Department is not a proper defendant. (See, Section II, supra). As against

    7 the County, Plaintiff Olga does not have standing to pursue this cause of action as a

    8 “successor in interest” to Decedent’s estate. (See, Section IV, supra). Nor may she
    9 prosecute this purported claim against the County on any “wrongful death” theory.

   10 See, Hernandez, supra, 2020 WL 3101041, at *3; A.B., supra, 2019 WL 1578380, at

   11 *6. And she does not set forth any factual allegations suggesting even an inference

   12 that the conduct of any individual defendant was motivated by municipal policy,

   13 practice, or custom and thereby violated Plaintiff Olga’s specific constitutional

   14 rights. Accordingly, Plaintiff’s Third Cause of Action fails and must be dismissed.

   15        Plaintiff’s cause of action suffers from additional substantive defects
   16 warranting dismissal. She styles this claim as one based on alleged

   17 “unconstitutional custom or policy,” and stuffs her pleading with a full page of

   18 speculative and legally-inadequate allegations about supposed “customs, policies,

   19 and practices.” (See, Complaint, 14:22-15:28, Doc. No. 1-1, Exhibit “A”). These

   20 hollow allegations are surrounded by separate conclusory legal jargon. (See, e.g.,

   21 Complaint, 14:22-25 (alleging the County acted “with gross negligence and with

   22 reckless and deliberate indifference to the rights and liberties of the public in

   23 general, and of Plaintiffs and DECEDENT…”); 16:3-8 (“The aforementioned

   24 policies and practices…was a moving force that caused Defendants DEPUTY

   25 RENZI, DEPUTY FAOUR, DEPUTY KOCHER to use unreasonable deadly force

   26 on DECEDENT…”); 16:14-16 (“Said defendants also acted with deliberate

   27 indifference to the foreseeable effects and consequences of these policies with

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           DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                 AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 26 of 86 Page ID #:103




    1 respect to the constitutional rights of Decedent, Plaintiffs, and other individuals

    2 similarly situated…”), Doc. No. 1-1, Exhibit “A”).

    3        Even a cursory review of the allegations expose this cause of action as one
    4 facially devoid of sufficient facts showing a particular policy or custom caused a

    5 constitutional violation. Instead, and repeatedly, Plaintiff resorts to fact-bare legal

    6 conclusions to advance her claim. Put plainly, this is not good enough. A plaintiff

    7 cannot “plead facts that are merely consistent with a defendant’s liability,” as

    8 “threadbare recitals of the elements of a cause of action, supported by mere
    9 conclusory statements do not suffice.” Iqbal, supra, 556 U.S. at 678; see, Twombly,

   10 supra, 550 U.S. 555 (“[A] plaintiff’s obligation to provide the ‘grounds’ of his

   11 ‘entitlement to relief’ requires more than labels and conclusions, and a formulaic

   12 recitation of the elements of a cause of action will not do.”) (internal citations

   13 omitted); In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008) (when

   14 evaluating the merit of a Rule 12(b)(6) Motion to Dismiss, the court need not accept

   15 as true “allegations that are merely conclusory, unwarranted deductions of fact, or

   16 unreasonable inferences.”). These settled pleading rules apply to “Municipal

   17 Liability” claims like Plaintiff’s. See, A.E. ex rel. Hernandez v. Cty. of Tulare, 666

   18 F.3d 631, 637 (9th Cir. 2012) (noting that pleading standards announced in Iqbal

   19 and Twombly “appl[y] to Monell claims and should govern future pleadings in this

   20 case”); see also, Moore v. County of Orange, Case No. 8:17-cv-01024-JVS-(JCG),

   21 2017 WL 10518114, at *3 (C.D. Cal. 2017) (citing rule); Wilkey v. County of

   22 Orange, 2017 WL 11447980, at * (C.D. Cal. 2017) (dismissing Monell claim with

   23 prejudice where “custom and policy” allegations amounted to “rote recitation of the

   24 elements of a Monell claim for Section 1983 liability against a municipality…”).

   25        Even under the liberal pleading standards established by Iqbal and Twombly,
   26 Plaintiff’s barebones allegations fail. Plaintiff does not allege any facts showing

   27 that any of the battery of claimed “policies” or “customs” actually exist. See, Herd,

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           DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                 AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 27 of 86 Page ID #:104




    1 supra, 311 F.Supp.3d at 1168 (Monell claim based on “policy and custom”

    2 dismissed where Plaintiffs “fail[ed] to allege any facts showing that any of [the]

    3 claimed policies of customs actually exist.”); Johnson v. Baca, 2013 WL 12131358,

    4 at *13 (C.D. Cal. 2013) (dismissing Monell claim where the complaint failed “to

    5 allege any facts showing the existence of this custom or practice” and did not

    6 “allege the substance of the County defendants’ current policy or explain why it is

    7 inadequate”); Smith v. Stanislaus, 2012 U.S. Dist. LEXIS 9288, *10 (E.D. Cal.

    8 2012) (“[T]o sufficiently state a claim under Monell, plaintiff must allege facts
    9 establishing a policy, it is not enough simply to state that there is a policy.”). Nor

   10 does Plaintiff allege sufficient facts demonstrating a particular “policy or custom”

   11 amounted to “deliberate indifference” that caused an alleged constitutional violation.

   12 See, Herd, supra, 311 F.Supp.3d at 1168 (“Merely alleging that ‘Defendants acted

   13 with deliberate indifference’ is conclusory and does not show that the alleged

   14 deficiencies were ‘obvious and the constitutional injury was likely to occur.’”)

   15 (internal citation omitted); see also, Maldonado v. County of Orange, 2019 WL

   16 6139937, at *2 (C.D. Cal. 2019) (dismissing Monell claim based on “policy and

   17 custom” where “[t]he Complaint contains only sweeping allegations that the

   18 County’s policies and practices generally empower excessive force, but ‘Plaintiff[]

   19 fail[s] to allege any facts showing that any of these claimed policies or customs

   20 actually exist,’ much less how they caused the specific use of force at issue here.”);

   21 Rendon, supra, 2019 WL 4284521, at *2 (Monell claim dismissed because

   22 “Plaintiff’s sole, conclusory allegations of policies or practices that encompass all of

   23 Defendants’ alleged misconduct is insufficient to state a claim for municipal liability

   24 under § 1983.”); Moore, supra, 2017 WL 10518114, at *3-4 (Monell claim

   25 dismissed: “Moore’s Complaint falls short of the requirements for pleading a

   26 Monell claim. Rather than include specific factual allegations, paragraph 57 of

   27 Moore’s Complaint sets forth a speculative list of various customs, policies, and

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           DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                 AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 28 of 86 Page ID #:105




    1 practices that allegedly violated her Fourth Amendment and Fourteenth Amendment

    2 rights…. Moore’s list contains ‘no allegations of underlying facts.’ [Citation].

    3 Therefore, Moore has failed to meet the Monell pleading standard.”).

    4         Additionally, it is well settled that allegations regarding an isolated incident
    5 are insufficient to support Plaintiff’s purported “policy and custom” claim. See,

    6 Thompson v. City of Los Angeles, 885 F.2d 1439, 1443 (9th Cir. 1989), overruled

    7 on other grounds by Bull v. City & County of San Francisco, 595 F.3d 964, 981 (9th

    8 Cir. 2010) (“[P]roof of random acts or isolated events are insufficient to establish
    9 custom.”); Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996) (“Liability for

   10 improper custom may not be predicated on isolated or sporadic incidents; it must be

   11 founded upon practices of sufficient duration, frequency and consistency that the

   12 conduct has become a traditional method of carrying out policy.”). Indeed,

   13 municipal liability claims must be supported by a record of numerous, similar

   14 incidents. Sloman v. City of Simi Valley, 21 F.3d 1462, 1470 (9th Cir. 1994)

   15 (“Individual action like [the defendant officer’s] does not rise to the level of the

   16 ‘well-settled’, ‘widespread’ practices contemplated in the cases discussing

   17 municipal liability”; jury verdict against city defendant for one employee officer’s

   18 “habitual” conduct overturned as error); A. B., supra, 2019 WL 1578380, at *4 (“In

   19 the FAC, Plaintiffs allege that Defendants were acting pursuant to customs, policies,

   20 usages and practices of City and the City of Santa Ana Police Department, that

   21 Defendants violated Plaintiffs’ rights as a result of those policies, and that Plaintiffs

   22 were injured as a result. [Citation]. However, Plaintiffs do not allege any specific

   23 facts showing that Defendants had an ongoing policy or practice that resulted in

   24 widespread violations of constitutional rights. Plaintiff does not point to any further

   25 alleged incidents of Fourth Amendment excessive force, unreasonable seizure, or

   26 unlawful search other than the July 21, 2017 incident that gave rise to this action.

   27 Plaintiffs ‘bare assertion’ that Defendants have an ongoing unlawful policy or

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           DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                 AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 29 of 86 Page ID #:106




    1 practice, without more, does not suffice to state a claim for relief. [Citation].

    2 Accordingly, Defendants’ Motion to Dismiss Plaintiffs’ fourth claim is GRANTED

    3 WITH PREJUDICE.”) (emphasis added). Because factual allegations of similar

    4 incidents are absent from Plaintiff’s Third Cause of Action, dismissal is appropriate.

    5 VIII. PLAINTIFF OLGA’S FIFTH CAUSE OF ACTION FAILS TO STATE

    6         A CLAIM UPON WHICH RELIEF CAN BE GRANTED
    7         Plaintiff Olga purports to sue “All Defendants” for alleged “Wrongful
    8 Death/Survival Based on Negligence (Including Negligent Tactics),” and attempts to
    9 do so both as Decedent’s statutory heir and “successor in interest.” (See, Complaint,

   10 19:15-18, Doc. No. 1-1, Exhibit “A”). She does not have standing as a successor in

   11 interest (see, Section IV, supra), meaning she may proceed only as an individual.

   12         To move forward on this claim against any of the defendants, Plaintiff is
   13 required to plead a statutory basis that authorizes suit against them. See, Searcy,

   14 supra, 177 Cal.App.3d at 802; D.K. ex rel. G.M., supra, 667 F.Supp.2d at 1198

   15 (citing Searcy with approval and dismissing plaintiffs’ state law claim for failure to

   16 identify an authorizing statute). She has not done so: Plaintiff does not identify any

   17 statute that permits this type of claim against governmental defendants like the

   18 individual deputies, the County, or the Sheriff’s Department. “[D]isregard of

   19 statutes is fatal to a plaintiff’s claim of public liability,” and warrants dismissal.

   20 See, Ramsey, supra, 220 Cal.App.3d at 1541.

   21         “Duty cannot be alleged simply by stating, ‘defendant had a duty under the
   22 law’; that is a conclusion of law, not an allegation of fact.” Searcy, supra, 177

   23 Cal.App.3d at 802. Plaintiff’s empty assertions that the defendant deputies “had a

   24 duty to Decedent LUIS HERMOSILLO and Plaintiffs” are therefore meaningless.

   25 (See, Complaint, ¶¶ 67, 68, Doc. No. 1-1, Exhibit “A”). Nor is it good enough for

   26 Plaintiff to cite to things like “California Peace Officers Standard Training, national

   27 standards for use of force and [the deputies] own police departments’ training

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           DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                 AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 30 of 86 Page ID #:107




    1 mandated for tactical firearms training”; “accepted national standards”; or “OCSD

    2 Policies and Procedures manual and training including in regards to use of force and

    3 the use of deadly force….” (See, Complaint, ¶¶ 67, 68, Doc. No. 1-1, Exhibit “A”).

    4 By rule, Departmental policies and manuals do not form the basis for the applicable

    5 standard of care, and departmental policies and P.O.S.T. guidelines cannot serve as

    6 the basis for a state tort. Under substantive California law, deviation from

    7 departmental policy directives or regulations “can only serve as a basis for

    8 administrative action. They cannot create a duty to individual citizens.” Lehto v.
    9 City of Oxnard, 171 Cal.App.3d 285, 294-295 (1985).

   10        With no statutory duty properly pled, this Cause of Action must be dismissed.
   11 IX.    PLAINTIFF OLGA’S SIXTH CAUSE OF ACTION FAILS TO STATE
   12        A CLAIM UPON WHICH RELIEF CAN BE GRANTED
   13        Plaintiff Olga purports to sue the individual defendants for “Negligent
   14 Infliction of Emotional Distress” (“NIED”). (See, Complaint, 21:21-23, Doc. No. 1-

   15 1, Exhibit “A”). As discussed in Section III.B., supra, NIED is not a cognizable

   16 claim in California, let alone one statutorily authorized as a basis for suit against

   17 public employees. See, Gu, supra, 132 Cal.App.4th at 204 (“[T]he California

   18 Supreme Court has emphasized that ‘there is no independent tort of negligent

   19 infliction of emotional distress.’”) (emphasis added).

   20        Plaintiff Olga does not say anything in the Complaint to overcome this settled
   21 principle. The claim must therefore be dismissed. See, Fed. R. Civ. Proc. 12(b)(6).

   22 X.     PLAINTIFF OLGA FAILS TO SUFFICIENTLY PLEAD A CAUSE OF
   23        ACTION FOR VIOLATION OF THE BANE ACT
   24        Plaintiffs level their “Bane Act” claim on behalf of “All Plaintiffs” against
   25 “All Defendants.” Plaintiff Xavier’s claim fails for the reasons discussed in Section

   26 III.C., supra. Plaintiff Olga’s attempt to proceed on this cause of action fails for

   27 similar reasons.

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            DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                  AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 31 of 86 Page ID #:108




    1          First, Plaintiff Olga does not make a single factual allegation that any
    2 defendant interfered with any of her rights by “threat, intimidation, or coercion.”

    3 (See generally, Complaint, 23:5-24:16, Doc. No. 1-1, Exhibit “A”). Instead,

    4 Plaintiff’s allegations focus exclusively on Decedent Luis Hermosillo being

    5 subjected to alleged “excessive force,” and alleged violation of “LUIS

    6 HERMOSILLO’S civil rights as protected by section 52.1 of the Civil Code.” (See,

    7 Complaint, 23:23-24:2, 24:10-11, Doc. No. 1-1, Exhibit “A”). As Plaintiff Olga has

    8 not alleged facts concerning her rights being infringed upon by “threat,
    9 intimidation, or coercion,” along with the requisite “specific intent,” her cause of

   10 action is insufficiently pled against all governmental defendants and must be

   11 dismissed. See, Bay Area, supra, 38 Cal.App.4th at 144; Bresaz, supra, 136

   12 F.Supp.3d at 1137; Reese, supra, 888 F.3d at 1045; A. B., supra, 2019 WL 1578380,

   13 at *5 (granting Rule 12b(b)(6) motion to dismiss where plaintiffs “do not allege that

   14 Defendants acted with a specific intent to use unreasonable force against Decedent,

   15 or to violate his constitutional rights.”); accord Searcy, supra, 177 Cal.App.3d at 802

   16 (“[In order] to state a cause of action [for government tort liability], every fact

   17 essential to the existence of a statutory liability must be pleaded with

   18 particularity….”).

   19          Secondly, Plaintiff Olga cannot pursue this cause of action under any state
   20 law “wrongful death” theory, as “[t]he Bane Act is simply not a wrongful death

   21 provision.” See, Bay Area, supra, 38 Cal.App.4th at 144.

   22          Without any facts sufficient to allege a violation of her own rights, and a
   23 “wrongful death” theory categorically unavailable, Plaintiff Olga’s only conceivable

   24 standing for this claim is as a successor in interest to Decedent. But, as discussed in

   25 Section IV, fn. 2, supra, even if Plaintiff Olga did wish to proceed in this capacity,

   26 she has not satisfied the statutory requirements for doing so.

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              DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                    AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 32 of 86 Page ID #:109




    1 XI.    PLAINTIFFS’ COMPLAINT FAILS TO PROVIDE FAIR NOTICE TO
    2        DEFENDANTS
    3        At the start of each cause of action, Plaintiffs attempt to “re-allege and
    4 incorporate each and every allegation of each and every paragraph above as though

    5 fully set forth herein.” (See, Complaint, ¶¶28, 37, 46, 59, 66, 72, 78, Doc. No. 1-1,

    6 Exhibit “A”). By the beginning of the Seventh Cause of Action, Plaintiffs have “re-

    7 allege[d] and incorporate[d]” seventy-seven paragraphs of text spanning twenty-two

    8 pages that reference seven state and federal causes of action (each of which has its
    9 own pleading standards to be satisfied, and all of which raise doubt as to who

   10 Plaintiff attempts to sue and for what).

   11        This type of “chain letter” and shotgun pleading style by which “each and
   12 every” allegation of “each and every” preceding paragraph is “incorporated” into

   13 each new claim is improper. Indeed, it violates the rules that require a complaint to

   14 clearly set forth who is suing whom, for what relief, and on what theory, and with

   15 enough detail to guide discovery. See, McHenry v. Renne, 84 F.3d 1172, 1177 (9th

   16 Cir. 1996); Anderson v. Dist. Bd. Of Trs. Of Cent. Fla. Cmty Coll., 77 F.3d 364,

   17 366 (11th Cir. 1996) (affirming grant of Rule 12(e) motion where “complaint [was]

   18 a perfect example of ‘shotgun’ pleading in that it is virtually impossible to know

   19 which allegations of fact are intended to support which claim(s) for relief.”); Moore,

   20 supra, 2017 WL 10518114, at *2-3 (granting Rule 12(e) motion where plaintiff’s

   21 complaint deemed “an improper shotgun pleading because it realleges and

   22 incorporates all prior allegations into each succeeding cause of action.”); Lass v.

   23 County of Orange, Case No. SACV 08-01132-JVS-(ANx), 2009 WL 10687551 at

   24 *2 (C.D. Cal. 2009) (granting motion for a more definite statement where plaintiff

   25 failed to “incorporate only those paragraphs which apply to each claim, the most

   26 egregious example of which is the final claim, incorporating 106 paragraphs of

   27 text.”) (emphasis added).

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            DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                  AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 33 of 86 Page ID #:110




    1        In such circumstances, defendants cannot intelligently determine the nature of
    2 the allegations s/he/it faces, and a Fed. R. Civ. Proc. 12(e) Motion for More Definite

    3 Statement lies. See, Mason v. County of Orange, 251 F.R.D. 562, 563-564 (C.D.

    4 Cal. 2008) (“Experience teaches that, unless cases are pled clearly and precisely,

    5 issues are not joined, discovery is not controlled, the trial court’s docket becomes

    6 unmanageable, the litigants suffer, and society loses confidence in the court’s ability

    7 to administer justice.”); Rendon, supra, 2019 WL 4284521, at *2 (“‘As a general

    8 rule, when a pleading fails ‘to allege what role each Defendant played in the alleged
    9 harm,’ this ‘makes it exceedingly difficult, if not impossible, for individual

   10 Defendants to respond to Plaintiffs’ allegation.’”) (internal citations omitted);

   11 McHenry, supra, 84 F. 3d at 1176 (affirming dismissal where “no attempt is made to

   12 match up the specific factual allegations and the specific legal claims to a specific

   13 defendant.”); Rodrigues, supra, 2020 WL 3396619, at *3 (citing Anderson with

   14 approval and granting Rule 12(e) motion where complaint “adopts the allegations of

   15 all preceding claims” and plaintiff “fails to incorporate only those paragraphs which

   16 apply to each claim, the most egregious example of which is the final claim,

   17 incorporating and re-alleging eighty four paragraphs that reference nine causes of

   18 action.”).

   19        Plaintiffs’ efforts to “re-allege and incorporate” the many allegations of their
   20 Complaint are foreclosed by the above authorities. If this were not reason enough to

   21 send Plaintiffs back to the proverbial drawing board, there are other areas of the

   22 Complaint that raise questions as to who is intending to sue whom and over what

   23 conduct. For example, the “Assault and Battery” cause of action is titled such that

   24 one would believe it is pursued by only Plaintiff Olga Hermosillo. (See, Complaint,

   25 17:10-12, Doc. No. 1-1, Exhibit “A”). But tucked within the text of this claim are

   26 repeated references to “Xavier Hermosillo” as a plaintiff. (See, Complaint, ¶¶ 64,

   27 65, Doc. No. 1-1, Exhibit “A”). A similar problem arises in the Sixth Cause of

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           DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                 AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 34 of 86 Page ID #:111




    1 Action for “NIED,” where the title suggests it is brought against the individual

    2 defendants (see, Complaint, 21:21-23), but the text includes allegations against

    3 “Defendants COUNTY OF ORANGE [and] OCSD….” (See, Complaint, 22:7-10,

    4 Doc. No. 1-1, Exhibit “A”). The end result is the type of confusion in the pleading

    5 that fails to satisfy Rule 8’s “short and plain statement” requirement. See,

    6 Rodrigues, supra, 2020 WL 3396619, at *2 (“‘[T]he short and plain statement must

    7 provide the defendant with fair notice of what the plaintiff’s claim is and the

    8 grounds upon which it rests.’”) (citing Dura Pharms., Inc. v. Broudo, 544 U.S. 336,

    9 346 (2005)); see also, In re GlenFed, Inc. Sec. Litig., 42 F.3d at 1541, 1554 (9th Cir.

   10 1994) (emphasizing that “[a] complaint is not a puzzle…and we are loathe to allow

   11 plaintiffs to tax defendants, against whom they have leveled very serious charges,

   12 with the burden of solving puzzles in addition to the burden of formulating an

   13 answer to their complaint.”).

   14        Based on the current drafting of the Complaint, Defendants respectfully
   15 request that Plaintiffs be ordered to cure the above-described deficiencies by way of

   16 a more definite statement. See, Fed. R. Civ. Proc. 12(e).

   17 XII. CONCLUSION

   18        For all the foregoing reasons, Defendants respectfully request that the Court
   19 grant their Motion as prayed and dismiss Plaintiffs’ pleading pursuant to Fed. Rs.

   20 Civ. Proc. 12(b)(6). Should the Court not order dismissal in full, Defendants ask

   21 that the Court order Plaintiffs more fairly articulate their allegations in the form of a

   22 more definite statement consistent with Fed. Rs. Civ. Proc. 8 and 12(e).

   23 DATED: August 6, 2020                       LYNBERG & WATKINS
   24

   25                                       By:
                                                  NORMAN J. WATKINS
   26                                             S. FRANK HARRELL
                                                  JESSE K. COX
   27                                             Attorneys for DEFENDANTS
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           DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                 AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 35 of 86 Page ID #:112




    1                          DECLARATION OF JESSE K. COX
    2          I, Jesse K. Cox, do declare as follows:
    3          1.    I am an attorney at law duly licensed to practice before this Court and
    4 am a partner with the law firm of Lynberg & Watkins, a Professional Corporation,

    5 attorneys of record for Defendants COUNTY OF ORANGE, ORANGE COUNTY

    6 SHERIFF’S DEPARTMENT, DEPUTY RENZI, DEPUTY FAOUR, and DEPUTY

    7 KOCHER. I have personal knowledge of the following facts and, if called as a

    8 witness, I could and would testify competently thereto.
    9          2.    Plaintiffs XAVIER HERMOSILLO and OLGA HERMOSILLO
   10 initially filed their Complaint for Damages in Orange County Superior Court. The

   11 Complaint alleges a host of federal and state law claims for relief against

   12 Defendants. These include claims based on alleged violations of Plaintiffs’ and

   13 Decedent’s constitutional rights under the Fourth and Fourteenth Amendments,

   14 made actionable through 42 U.S.C. § 1983. These federal claims trigger this

   15 Court’s original jurisdiction pursuant to 28 U.S.C. § 1331. On this basis,

   16 Defendants’ removed this action from state court on July 30, 2020.

   17          3.    A true and correct copy of Plaintiffs’ operative Complaint for Damages
   18 was included as an exhibit to Defendants’ Notice of Removal. The Complaint was

   19 filed in this federal action as part of Document No. 1-1 at pages 2 through 26 of 50.

   20 A true and correct copy of Plaintiffs’ Complaint for Damages is attached hereto as

   21 Exhibit “A.”

   22          4.    On July 30, 2020, shortly after effecting removal, Defense counsel sent
   23 meet and confer correspondence and attempted to engage with Plaintiff’s counsel

   24 pursuant to Local Rule 7-3 regarding perceived deficiencies in Plaintiff’s pleading.

   25 As of the date of the filing of this Motion, Defense counsel has not yet received a

   26 response from Plaintiffs’ counsel expressing a willingness to voluntarily amend

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              DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                    AND/OR FOR A MORE DEFINITE STATEMENT
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 36 of 86 Page ID #:113




    1 Plaintiff’s Complaint. A true and correct copy of defense counsel’s July 30, 2020

    2 correspondence is attached hereto as Exhibit “B.”

    3            I declare, under penalty of perjury under the laws of the United States, that
    4 the foregoing is true and correct, and that this declaration was made and executed

    5 this 6th day of August 2020, in Orange, California.

    6

    7                                          By:
                                                     JESSE K. COX
    8                                                Declarant
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     Case 8:20-cv-01387 Document 1-1 8Filed
                                         Filed 08/06/20Page
                                             07/30/20    Page 3750
                                                            1 of of 86  Page
                                                                     Page    ID #:114
                                                                          ID #:9




           EXHIBIT A
Case Case
     8:20-cv-01387-JVS-ADS  Document
          8:20-cv-01387 Document 1-1 8Filed
                                         Filed 08/06/20Page
                                            07/30/20     Page
                                                            2 of3850of 86 Page
                                                                       Page     ID #:115
                                                                            ID #:10
Case Case
     8:20-cv-01387-JVS-ADS  Document
          8:20-cv-01387 Document 1-1 8Filed
                                         Filed 08/06/20Page
                                            07/30/20     Page
                                                            3 of3950of 86 Page
                                                                       Page     ID #:116
                                                                            ID #:11
Case Case
     8:20-cv-01387-JVS-ADS  Document
          8:20-cv-01387 Document 1-1 8Filed
                                         Filed 08/06/20Page
                                            07/30/20     Page
                                                            4 of4050of 86 Page
                                                                       Page     ID #:117
                                                                            ID #:12
Case Case
     8:20-cv-01387-JVS-ADS  Document
          8:20-cv-01387 Document 1-1 8Filed
                                         Filed 08/06/20Page
                                            07/30/20     Page
                                                            5 of4150of 86 Page
                                                                       Page     ID #:118
                                                                            ID #:13
Case Case
     8:20-cv-01387-JVS-ADS  Document
          8:20-cv-01387 Document 1-1 8Filed
                                         Filed 08/06/20Page
                                            07/30/20     Page
                                                            6 of4250of 86 Page
                                                                       Page     ID #:119
                                                                            ID #:14
Case Case
     8:20-cv-01387-JVS-ADS  Document
          8:20-cv-01387 Document 1-1 8Filed
                                         Filed 08/06/20Page
                                            07/30/20     Page
                                                            7 of4350of 86 Page
                                                                       Page     ID #:120
                                                                            ID #:15
Case Case
     8:20-cv-01387-JVS-ADS  Document
          8:20-cv-01387 Document 1-1 8Filed
                                         Filed 08/06/20Page
                                            07/30/20     Page
                                                            8 of4450of 86 Page
                                                                       Page     ID #:121
                                                                            ID #:16
Case Case
     8:20-cv-01387-JVS-ADS  Document
          8:20-cv-01387 Document 1-1 8Filed
                                         Filed 08/06/20Page
                                            07/30/20     Page
                                                            9 of4550of 86 Page
                                                                       Page     ID #:122
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CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    4650
                                                         10 of of 86  Page
                                                                   Page    ID #:123
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CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    4750
                                                         11 of of 86  Page
                                                                   Page    ID #:124
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CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    4850
                                                         12 of of 86  Page
                                                                   Page    ID #:125
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CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    4950
                                                         13 of of 86  Page
                                                                   Page    ID #:126
                                                                        ID #:21
CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    5050
                                                         14 of of 86  Page
                                                                   Page    ID #:127
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CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    5150
                                                         15 of of 86  Page
                                                                   Page    ID #:128
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CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    5250
                                                         16 of of 86  Page
                                                                   Page    ID #:129
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CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    5350
                                                         17 of of 86  Page
                                                                   Page    ID #:130
                                                                        ID #:25
CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    5450
                                                         18 of of 86  Page
                                                                   Page    ID #:131
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CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    5550
                                                         19 of of 86  Page
                                                                   Page    ID #:132
                                                                        ID #:27
CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    5650
                                                         20 of of 86  Page
                                                                   Page    ID #:133
                                                                        ID #:28
CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
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                                          07/30/20     Page
                                                    Page    5750
                                                         21 of of 86  Page
                                                                   Page    ID #:134
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CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    5850
                                                         22 of of 86  Page
                                                                   Page    ID #:135
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CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    5950
                                                         23 of of 86  Page
                                                                   Page    ID #:136
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CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    6050
                                                         24 of of 86  Page
                                                                   Page    ID #:137
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CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    6150
                                                         25 of of 86  Page
                                                                   Page    ID #:138
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CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    6250
                                                         26 of of 86  Page
                                                                   Page    ID #:139
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CaseCase
     8:20-cv-01387-JVS-ADS Document
         8:20-cv-01387 Document     8 Filed
                                1-1 Filed    08/06/20
                                          07/30/20     Page
                                                    Page    6350
                                                         27 of of 86  Page
                                                                   Page    ID #:140
                                                                        ID #:35




           EXHIBIT B
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 64 of 86 Page ID #:141




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                                                                                     REPLY TO: ORANGE COUNTY




                                                 July 30, 2020

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  Montebello, CA 90640



                      Re:    Olga Hermosillo, et al. v. County of Orange, et al.
                             Date of Loss:        August 21, 2019
                             Our File No.:        1793-0269



  Dear Counsel:

         Please be advised this office represents Defendants County of Orange, the
  Orange County Sheriff’s Department, Deputy Renzi, Deputy Faour, and Deputy Kocher
  in the above-captioned matter. We have received and reviewed Plaintiffs Olga
  Hermosillo and Xavier Hermosillo’s Complaint for Damages filed in Orange County
  Superior Court, Case No. 30-2020-01136190-CU-PO-CJC. We write to communicate
  several perceived deficiencies in the Complaint that subject the pleading to a number of
  pre-answer challenges. Please allow this correspondence to serve as Defendants’
  meet and confer attempt, pursuant to Local Rule 7-3, to informally resolve the issues
  discussed herein, prior to Defendants filing applicable Rule 12 motions, including a
  Motion to Dismiss, Request for a More Definite Statement, and a Motion to Strike.1


  1 This action is being removed to federal court on the basis of federal question jurisdiction. See, 28
  U.S.C. §§ 1331, 1441(b), 1367, and 1446. After removal, Plaintiffs’ Complaint will be subject to review
  under federal pleading standards. See, Kearns v. Ford Motor Co., 567 F.3d 1120, 1125 (9th Cir. 2009)
  (“It is well-settled that the Federal Rules of Civil Procedure apply in federal court, ‘irrespective of the
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 65 of 86 Page ID #:142

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  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

        I.    Motion to Dismiss for Failure to State a Claim for Relief (Fed. R. Civ.
              Proc. 12(b)(6))

                  A. The Sheriff’s Department is a Non-Suable Entity

          At the outset, we note that Plaintiffs level six of their seven purported causes of
  action against the Orange County Sheriff’s Department. (See, Plaintiff’s Complaint for
  Damages, 9:1-11:25, 12:1-14:6, 14:7-17:9, 17:10-19:14, 19:15-21:20, 23:5-24:16). It is
  well-settled, however, that a law enforcement department is a non-suable entity
  inasmuch as it is not a public entity itself, but rather a part of the suable public entity:
  here, the County. See, United States v. Kama, 394 F.3d 1236, 1239-1240 (9th Cir.
  2005) (“[M]unicipal police departments and bureaus are generally not considered
  “persons” within the meaning of 42 U.S.C. § 1983.”); Dean v. Barber, 951 F.2d 1210
  (11th Cir. 1992) (county sheriff’s department cannot be sued under section 1983);
  Moles v. County of Linn, 2004 WL 1490324, at *4 (D. Or. 2004) (“[T]he Linn County
  Sheriff's Office is not a ‘person’ subject to liability under section 1983. Municipal
  departments, commissions and associations, such as police, sheriff and corrections
  departments cannot be sued under section 1983.”); see also, Vallas v. City of Chula
  Vista, 56 Cal.App.3d 382, 387-388 (1976) (“We are provided no authority for the
  position that the police department is a ‘public entity’ within the meaning of the section.
  Evidence Code section 200 defines a public entity as ‘a nation, state, county, city and
  county, city, district, public authority, public agency, or any other political subdivision or
  public corporation, whether foreign or domestic.’ While ‘public agency’ may be a
  somewhat vague term, its use as a part of a definition of ‘public entity’ must contemplate
  a body with some degree of sovereignty. Each of the listed entities as well as the
  classification found in the concluding language, ‘or any other political subdivision or
  public corporation,’ describes an independent body politic with sovereignty and not a
  department or office within the entity. To construe ‘public agency’ any other way would
  be to destroy the concept of ‘entity.’ We note, too, the Law Revision Commission
  comment to section 811.2 of the Government Code, which defines ‘public entity’ in a
  similar fashion, states the definition ‘is intended to include every kind of political or
  governmental entity in the state.’ None of the definitions of ‘public agency’ we have
  been able to find would include a department of a city as such. We must conclude the
  police department is merely an integral part of a public entity and not an entity
  itself.”) (emphasis added).

        To better focus Plaintiffs’ claims and eliminate the patent ambiguity in their
  present pleading, Defendants request that Plaintiffs file a First Amended Complaint
  removing “ORANGE COUNTY SHERIFF’S DEPARTMENT” as a defendant.

  ///


  source of the subject matter jurisdiction, and irrespective of whether the substantive law at issue is state
  or federal.’”) (citation omitted). Accordingly, this correspondence addresses the deficiencies in Plaintiffs’
  Complaint in light of the federal standards.
                                                                                                                  2
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 66 of 86 Page ID #:143

  Humberto M. Guizar, Esq.
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  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

                 B. Xavier Hermosillo is Not a Proper Plaintiff

           In a similar vein, Defendants ask that an amending pleading be filed that
  eliminates current plaintiff Xavier Hermosillo as a party. At present, Plaintiff Xavier is a
  party to the Third Cause of Action (Municipal Liability), Sixth Cause of Action (Negligent
  Infliction of Emotional Distress), and Seventh Cause of Action (Violation of California
  Civil Code Section 52.1). But Plaintiff Xavier cannot pursue any of the alleged theories
  of recovery.

                     i.    Third Cause of Action – “Municipal Liability” (42 U.S.C. § 1983)

          Taking each cause of action in order, Plaintiff Xavier does not have standing to
  sue for alleged “Municipal Liability” in the Third Cause of Action. (See generally,
  Complaint for Damages, 14:7-17:9). “A local governmental entity can be sued under §
  1983 where a municipal policy or custom has caused an alleged violation of
  constitutional rights.” Herd v. County of San Bernardino, 311 F.Supp.3d 1157, 1166
  (C.D. Cal. 2018) (citing Monell v. Dep't of Social Servs. of City of New York, 436 U.S.
  658, 690–691 (1978)). Constitutional rights are personal rights that cannot be
  vicariously asserted. See, Herd, supra, 311 F.Supp.3d at 1165; see also, Smith v. City
  of Fontana, 818 F.2d 1411, 1417 (9th Cir. 1987) overruled on other grounds by
  Hodgers-Durgin v. de la Vina, 199 F.3d 1037 (9th Cir. 1999) (children of…decedent
  could not maintain personal causes of action on theory that Fourth Amendment had
  been violated because “[t]he children were not directly subjected to the excessive use of
  state force and therefore cannot maintain personal causes of action under section 1983
  in reliance on this Fourth Amendment theory.”); Alderman v. United States, 394
  U.S.165,174 (1969) (“Fourth Amendment rights are personal rights which…may not be
  vicariously asserted.”). At no point in the Third Cause of Action are any facts alleged
  suggesting even an inference that the conduct of any individual defendant was
  motivated by a policy, practice, or custom of an entity defendant and thereby violated
  Plaintiff Xavier’s specific constitutional rights. By way of example, Plaintiff Xavier makes
  no attempt to allege that “excessive force” was used against him personally.

         To the extent Plaintiff Xavier may be relying on a theory of “substantive due
  process,” and that some Fourteenth Amendment right was infringed by the killing of his
  brother, Decedent Luis Hermosillo, this theory is meritless because Plaintiff Xavier does
  not have standing to advance such a theory. See, Estate of Crawley v. McRae, 2015
  WL 5432787, at *35 (E.D. Cal. 2015) (decedent’s siblings “substantive due process
  claim fails as a matter of law because he has no actionable constitutionally protected
  interest.”); Ward v. City of San Jose, 967 F.2d 280, 284 (9th Cir. 1992) (sibling does not
  have any constitutionally protected interest in brother’s companionship under Section
  1983).2


  2For this last reason, Plaintiff Xavier likewise does not have standing to make any claim for “Violation of
  Substantive Due Process” in the Second Cause of Action. Though Plaintiff Xavier is not identified as a
  party to this claim in the claim heading, his name does appear at various times and places throughout the
                                                                                                              3
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 67 of 86 Page ID #:144

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  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

         Plaintiff Xavier also cannot advance a “Municipal Liability” claim under any
  “wrongful death” theory. Only survivor actions—and not “wrongful death” actions—may
  be brought pursuant 42 U.S.C. § 1983. See, Herd, supra, 311 F.Supp.3d at 1165; see
  also, Hernandez v. County of Santa Clara, 2020 WL 3101041, at *3 (N.D. Cal. 2020)
  (“[T]here is no ‘wrongful death’ claim under § 1983.”) (citing Herd, supra, 311 F.Supp.3d
  at 1164); A.B. v. City of Santa Ana, 2019 WL 1578380, at *6 (C.D. Cal. 2019) (“‘[C]ase
  law is clear that only survivor action may be brought pursuant to 42 U.S.C. § 1983.’”)
  (quoting Herd, supra, 311 F.Supp.3d at 1165). Additionally, a “wrongful death” theory is
  a creature of California state law, and under that law Plaintiff Xavier does not have
  standing to sue for the “wrongful death” of his brother where Decedent’s mother is alive
  and a party to the case. See, Code of Civil Procedure § 377.60(a) (identifying the
  statutory heirs with standing to bring a “wrongful death” action at “[t]he decedent's
  surviving spouse, domestic partner, children, and issue of deceased children, or, if there
  is no surviving issue of the decedent, the persons, including the surviving spouse or
  domestic partner, who would be entitled to the property of the decedent by intestate
  succession”); see also, California Probate Code § 6402.

           While survivorship actions are permitted under 42 U.S.C. § 1983 so long as the
  state in which the action is filed authorizes such a claim, Plaintiff Xavier has not satisfied
  the statutory prerequisites for pursuing any survivorship claim in a California court (of
  any jurisdiction). In California, a successor in interest who “seeks to commence an
  action or proceeding” on behalf of a decedent “shall execute and file an affidavit” that
  conforms with the enumerated requirements of [Code of Civil Procedure] § 377.32(a).
  See, Wishum v. California, 2014 WL 3738067, at *2 (N.D. Cal., 2014) (“Section 377.32
  requires any party seeking to commence an action as a decedent's successor in interest
  to file an affidavit or declaration stating the basis for that designation.”). It is Plaintiff
  Xavier’s burden to prove he meets the state’s requirements for bringing a survival
  action, and he simply has not met his burden of proof. See, Moreland v. Las Vegas
  Metro. Police Dep’t, 159 F.3d 365, 369 (9th Cir.1998).

         For these reasons, Plaintiff Xavier’s Third Cause of Action is subject to a Motion
  to Dismiss. See, Fed. R. Civ. Proc. 12(b)(6).

                    ii.   Sixth Cause of Action – Negligent Infliction of Emotional Distress

           By rule, “[p]ublic liability for personal injuries is defined and limited by statute.”
  Ramsey v. City of Lake Elsinore, 220 Cal.App.3d 1530, 1536 (1990); Cochran v. Herzog
  Engraving Co., 155 Cal.App.3d 405, 409 (1984) (“In California, all government tort
  liability must be based on statute.”). As summarized by the Court of Appeal:

                  [In order] to state a cause of action [for government tort
                  liability], every fact essential to the existence of a statutory

  claim’s text. (See, Complaint for Damages, ¶¶ 38, 41, 42, 43, 45). The authorities cited here bar any
  purported “substantive due process” claim as a matter of law. See, Estate of Crawley, supra, 2015 WL
  5432787, at *35; Ward, supra, 967 F.2d at 284.
                                                                                                          4
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 68 of 86 Page ID #:145

  Humberto M. Guizar, Esq.
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  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

                liability must be pleaded with particularity, including the
                existence of a statutory duty. Duty cannot be alleged
                simply by stating, ‘defendant had a duty under the law’; that
                is a conclusion of law, not an allegation of fact. The facts
                showing the existence of the claimed duty must be alleged.”
                [Citation omitted.] “Since the duty of a governmental
                agency can only be created by statute or ‘enactment,’
                the statute or ‘enactment’ must at the very least be
                identified [in plaintiff’s complaint].”

  Searcy v. Hemet Unified School Dist., 177 Cal.App.3d 792, 802 (1986) (emphasis
  added).

          As a companion rule, suits against public entities and public employees must be
  pled with particularized facts that give notice to the municipal defendants of what they
  supposedly did wrong. Susman v. City of Los Angeles, 269 Cal.App.2d 803, 808 (1969)
  (“In view of the fact that tort causes of action against public entities are now based on
  statute, the general rule that statutory causes of action must be pleaded with
  particularity is applicable. Every fact essential to the existence of statutory liability
  must be pleaded.”) (emphasis added). Only by pleading specific facts “may the public
  entity be advised of the factual and legal basis of the claim against it.” Lehto v. City of
  Oxnard, 171 Cal.App.3d 285, 292-293 (1985). These pleading rules are applicable to
  state law claims pursued in federal court. See, D.K. ex rel. G.M. v. Solano County
  Office of Educ., 667 F.Supp.2d 1184, 1198 (E.D. Cal. 2009) (citing Searcy with approval
  and dismissing plaintiffs’ state law claim for failure to identify an authorizing statute).

          Plaintiff Xavier’s Sixth Cause of Action for “Negligent Infliction of Emotional
  Distress” (“NIED”) proceeds as if the foregoing authority had never been published.
  Indeed, NIED is not even a stand-alone cause of action under California law—let alone
  one that meets the statutory authorization requirement in suits against public entities
  and their employees. See, Gu v. BMW of N. Am., LLC, 132 Cal.App.4th 195, 204
  (2005) (“[T]he California Supreme Court has emphasized that ‘there is no independent
  tort of negligent infliction of emotional distress.’”) (emphasis added); Potter v.
  Firestone Tire & Rubber Co., 6 Cal. 4th 965, 984 (1993) (“[T]here is no independent tort
  of negligent infliction of emotional distress. The tort is negligence, a cause of action in
  which a duty to the plaintiff is an essential element.”) (internal citation omitted);
  Christensen v. Superior Court, 54 Cal. 3d 868, 884 (1991) (“Negligent infliction of
  emotional distress is not an independent tort….”); see also, Marlene F. v. Affiliated
  Psychiatric Med. Clinic, Inc., 48 Cal.3d 583, 588 (1989) (“[The] negligent causing of
  emotional distress is not an independent tort but the tort of negligence….”) (quoting 6
  Witkin, Summary of Cal. Law, Torts, § 838, p. 195 (9th ed. 1988)); Slaughter v. Legal
  Process & Courier Serv., 162 Cal.App.3d 1236, 1242 (1984) (“Negligent Infliction of
  Emotional Distress” is not a stand-alone cause of action, but is instead “a variation of
  the tort of negligence.”).

                                                                                            5
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 69 of 86 Page ID #:146

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  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

          As part of the trade-off for waiving sovereign immunity, California public entities
  (and consequently, employees) obtained a number of unique rights in civil litigation,
  including the right to have their liability limited to a finite set of statutory claims, and the
  right to have the factual allegations against them advanced in a detailed format. See,
  Zuniga v. Housing Authority of the County of Los Angeles, 41 Cal.App.4th 82, 96
  (1995); Searcy, supra, 177 Cal.App.3d at 802; Susman, supra, 269 Cal.App.2d at 808.
  The intent of the Tort Claims Act was “not to expand the rights of plaintiffs in suits
  against governmental entities, but to confine potential governmental liability to rigidly
  delineated circumstances: immunity is waived only if the various requirements of the act
  are satisfied.” Williams v. Horvath, 16 Cal.3d 834, 838 (1976).

         Here, Plaintiff Xavier’s “NIED” claim fails to satisfy California’s heightened
  pleading requirements. The claim is therefore properly subject to a Motion to Dismiss.
  See, Fed. R. Civ. Proc. 12(b)(6).

                  iii.   Seventh Cause of Action – Violation of California Civil Code § 52.1

          The Bane Act, codified at California Civil Code § 52.1, provides a cause of action
  if “a person or persons, whether or not acting under color of law, interferes by threat,
  intimidation, or coercion, or attempts to interfere by threat, intimidation, or coercion, with
  the exercise or enjoyment by any individual or individuals of rights secured by the
  Constitution or laws of the United States, or of the rights secured by the Constitution or
  laws of this state.” In seizure cases, California courts and the Ninth Circuit have
  clarified that a claim for relief under § 52.1 additionally requires “a specific intent to
  violate the arrestee’s right to freedom from unreasonable seizure.” Reese v. Cty. of
  Sacramento, 888 F.3d 1030, 1043 (9th Cir. 2018) (quoting Cornell v. City of San
  Francisco, 17 Cal. App. 5th 766, 801 (2017)). Accordingly, a plaintiff must allege that
  defendants “intended not only the force, but [also] its unreasonableness.” Reese,
  supra, 888 F.3d at 1045 (internal quotations and citations omitted).

           “[The Bane Act] is limited to plaintiffs who themselves have been the subject of
  violence or threats.” Bay Area Rapid Transit Dist. v. Superior Court, 38 Cal.App.4th
  141, 144 (1995). Put differently, “a party lacks standing to bring a claim under the Bane
  Act when the party does not claim to have personally suffered a violation of a
  constitutional or statutory right.” (emphasis original). Bresaz v. County of Santa Clara,
  136 F.Supp.3d 1125, 1137 (N. D. Cal. 2015). The concomitant rule flowing from this is
  that “[t]he Bane Act is simply not a wrongful death provision.” Bay Area, supra, 38
  Cal.App.4th at 144.

         Here, Plaintiff Xavier does not make a single factual allegation that any
  defendant interfered with any of his rights by “threat, intimidation, or coercion.” (See
  generally, Complaint for Damages, 23:5-24:16). Instead, Plaintiff’s allegations focus
  exclusively on Decedent Luis Hermosillo being subjected to alleged “excessive force,”
  and alleged violation of “LUIS HERMOSILLO’S civil rights as protected by section 52.1
  of the Civil Code.” (See, Complaint for Damages, 23:23-24:2, 24:10-11). As Plaintiff

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Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 70 of 86 Page ID #:147

  Humberto M. Guizar, Esq.
  Kent M. Henderson, Esq.
  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

  Xavier has not alleged facts specific to him, and because he cannot pursue this claim
  under any “wrongful death” theory, he has no standing to pursue this claim as an
  individual plaintiff.

         Plaintiff Xavier also may not presently proceed as a “successor-in-interest” to
  Decedent’s estate on this claim. As discussed above, Plaintiff Xavier has not satisfied
  the statutory requirements for establishing that he is a recognized “successor-in-
  interest. (See, Section I.B.i., supra).

          Based on the above, Plaintiff Xavier lacks standing on his Seventh Cause of
  Action, subjecting it to a Motion to Dismiss. See, Fed. R. Civ. Proc. 12(b)(6).

         The foregoing discussion establishes that as pled, Plaintiff Xavier is not a proper
  party to this lawsuit. Defendants therefore request that Plaintiffs voluntarily file and
  serve an amended complaint that omits Plaintiff Xavier. Otherwise, Defendants will
  proceed with the above-referenced motion.

                C. Olga Hermosillo Does Not Have Standing as a Successor In Interest

         Plaintiff Olga Hermosillo asserts her First, Second, Fourth, and Fifth Causes of
  Action as “Successor in Interest to Luis Hermosillo.” (See, Complaint for Damages, 9:1-
  4, 12:1-4, 17:10-12, 19:-15-18).3 These claims implicate federal (First and Second
  Causes of Action) and state (Fourth and Fifth Causes of Action) theories of recovery.
  To have standing to pursue any of these theories, Plaintiff Olga is required to execute a
  statutory declaration that affirms (under penalty of perjury) her legal status as a
  successor in interest to Decedent’s estate. See, Wishum, supra, 2014 WL 3738067, at
  *2 (“Section 377.32 requires any party seeking to commence an action as a decedent's
  successor in interest to file an affidavit or declaration stating the basis for that
  designation.”); Moreland, supra, 159 F.3d at 369 (“The party seeking to bring a survival
  action bears the burden of demonstrating that a particular state’s law authorizes a
  survival action and that the plaintiff meets that state’s requirements for bringing a
  survival action.”) (citation omitted); see also, Code of Civil Procedure §§ 377.30, 377.32.

         As far as we are aware, Plaintiff Olga has not signed or filed the required
  successor in interest declaration for asserting any survivorship action. She therefore
  lacks standing in any purported “survivorship” capacity, and her claims to that effect are
  subject to dismissal. See, Fed. R. Civ. Proc. 12(b)(6).

  ///



  3It is unclear whether Plaintiff Olga attempts to sue as a successor in interest on the Third Cause of
  Action for “Municipal Liability” and the Seventh Cause of Action for alleged “Bane Act” violations. (See,
  Complaint for Damages, 14:7-17:9, 23:5-24:16) (referencing “All Plaintiffs,” but failing to specify the
  capacity in which any plaintiff proceeds). To the extent she is, the discussion herein forecloses any suit
  by Plaintiff Olga in this capacity.
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Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 71 of 86 Page ID #:148

  Humberto M. Guizar, Esq.
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  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020



                D. Plaintiff Olga’s First Cause of Action Fails to State a Claim for
                   Relief

         As best as Defendants can tell, in her First Cause of Action Plaintiff Olga sues
  “All Defendants” for alleged “excessive force” arising from Deputies Renzi, Faour, and
  Kocher’s alleged interaction with Decedent on August 21, 2019. As an initial matter,
  and as discussed above, Plaintiff lacks standing to bring this claim as Decedent’s
  successor in interest. (See, Section I.C., supra). Though she claims she is also
  proceeding “Individually as Heir at Law,” no such capacity exists because 42 U.S.C. §
  1983 does not provide for “wrongful death” actions. See, Hernandez, supra, 2020 WL
  3101041, at *3 (“[T]here is no ‘wrongful death’ claim under § 1983.”) (citing Herd, supra,
  311 F.Supp.3d at 1164); A.B., supra, 2019 WL 1578380, at *6 (“‘[C]ase law is clear that
  only survivor action may be brought pursuant to 42 U.S.C. § 1983.’”) (quoting Herd,
  supra, 311 F.Supp.3d at 1165).

          The only remaining avenue for Plaintiff to pursue this claim is for an alleged
  violation of her constitutional rights. But even a cursory review of the pleading reveals
  there are no facts pled demonstrating an alleged constitutional violation as regards
  Plaintiff. Instead, Plaintiff’s allegations focus on alleged “excessive force” against
  Decedent in violation of the Fourth Amendment. (See, Complaint for Damages, 9:7-10)
  (stating this action is “brought pursuant to 42 U.S.C. § 1983…for an alleged
  unreasonable seizure of the person including the use of unreasonable and excessive
  force…by Defendants…against Decedent LUIS HERMOSILLO.”). Though the claim
  makes reference to “the Fourteenth Amendment” and “violation of liberty interest”
  (which appear to be better encompassed in Plaintiff’s Second Cause of Action), these
  allegations do not give rise to any individual “excessive force” claim by Plaintiff Olga.
  See, Hufford v. McEnaney, 249 F.3d 1142, 1151 (9th Cir. 2001) (“If, in a Section 1983
  suit, the plaintiff’s claims can be analyzed under an explicit textual source of rights in the
  Constitution, a court should not resort to the ‘more subjective standard of substantive
  due process.’”) (citing Armendariz v. Penman, 75 F.3d 1311, 1319 (9th Cir. 1996)); see
  also, Albright v. Oliver, 510 U.S. 266, 273 (1994) (“The first step in any [Section 1983]
  claim is to identify the specific constitutional right allegedly infringed”); Graham v.
  Connor, 490 U.S. 386, 395 (1989) (“The validity of the claim must then be judged by
  reference to the specific constitutional standard which governs that right...”); Eberle v.
  City of Anaheim, 901 F.2d 814, 820 (9th Cir. 1990) (finding that it is reversible error to
  give a substantive due process instruction in an excessive force case after the Supreme
  Court’s decision in Graham).4

         Even if Plaintiff could navigate around the above-described pitfalls, this claim fails
  as alleged with respect to each and every defendant.


  4For this latter reason, Plaintiff’s references to the “Fourteenth Amendment” and “liberty interests” are
  subject to a Rule 12(f) Motion to Strike, discussed below.
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Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 72 of 86 Page ID #:149

  Humberto M. Guizar, Esq.
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  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

                   i.   County of Orange

          For starters, a municipality, such as the County, is not a proper party to this
  claim. It is well settled that a “municipality cannot...be held liable under § 1983 ‘solely
  because it employs a tortfeasor--or, in other words, a municipality cannot be held liable
  under § 1983 on a respondeat superior theory.’” Herd, supra, 311 F.Supp.3d 1166
  (quoting, Monell, supra, 436 U.S. at 691); see, Bd. of Cty. Comm’rs v. Brown, 520 U.S.
  397, 403, (1997) (“We have consistently refused to hold municipalities liable under a
  theory of respondeat superior”; it is only when an explicit or tacit wrongful government
  “policy or custom” causes government employees to inflict an injury that a government
  entity may be liable under Section 1983); Sincerny v. City of Walnut Creek, 2017 WL
  4642432, at *3 (N.D. Cal. 2017) (“‘A government entity may not be held liable under 42
  U.S.C. § 1983, unless a policy, practice, or custom of the entity can be shown to be a
  moving force behind a violation of constitutional rights.’”) (quoting Dougherty v. City of
  Covina, 654 F.3d 892, 900 (9th Cir. 2011)). Additionally, only “‘a longstanding practice
  or custom which constitutes the ‘standard operating procedure’ of the local government
  entity'” will support the imposition of municipal liability. Herd, supra, 311 F.Supp.3d at
  1167 (quoting Menotti v. City of Seattle, 409 F.3d 1113, 1147 (9th Cir. 2005)).

         Plaintiff’s First Cause of Action fails to set forth any facts to support a theory that
  the County had an unlawful policy, practice, or custom required to maintain a claim
  against a municipal entity. From what Defendants can tell, those allegations appear to
  be reserved for Plaintiff’s “Municipal Liability” claim, asserted as Plaintiff’s Third Cause
  of Action. (See, Complaint for Damages, 14:7-17:9). As such, we request that Plaintiff
  remove the County from the First Cause of Action, or otherwise face a Motion to
  Dismiss. See, Rodrigues v. County of Orange, 2020 WL 3396619, at *3-4 (C.D. Cal.
  2020) (granting Rule 12(b)(6) motion to dismiss “excessive force” claim against county
  where plaintiff failed to plead facts alleging a municipal policy, practice, or custom
  caused a constitutional violation).

                  ii.   Orange County Sheriff’s Department

          As discussed in Section I.A., supra, the Sheriff’s Department is a non-suable
  entity. Plaintiff’s “excessive force” claim against it must be dismissed for this reason
  alone.

                 iii.   Deputies Renzi, Faour, and Kocher

          Plaintiff’s claim against the individual defendants is legally deficient for a number
  of reasons. First of all, it is riddled with legal conclusions and other conclusory
  buzzwords such that it fails to meet basic pleading standards. At no point does Plaintiff
  assert any facts that speak to the governing standard on an “excessive force” claim:
  reasonableness under the circumstances. Instead, Plaintiff make meaningless, bald
  assertions that Defendants “intentionally used unreasonable an excessive force…in
  violation of 42 U.S.C. § 1983, and in violation of the Fourth and Fourteenth
  Amendments to the United States Constitution.” (See, Complaint for Damages, 9:14-
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Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 73 of 86 Page ID #:150

  Humberto M. Guizar, Esq.
  Kent M. Henderson, Esq.
  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

  17). She goes on: “Unreasonable, unnecessary, and/or excessive force was used by
  Defendants DEPUTY RENZI, DEPUTY FAOUR, [and] DEPUTY KOCHER…. ¶
  Defendants DEPUTY RENZI, DEPUTY FAOUR, [and] DEPUTY KOCHER…had an
  obligation to only use reasonable force rather than to use unreasonable, unnecessary,
  or excessive force.” (See, Complaint for Damages, 9:22-24). More: “The…acts of
  Defendants DEPUTY RENZI, DEPUTY FAOUR, [and] DEPUTY KOCHER…were
  malicious, willful, oppressive and despicable conduct as herein alleged, as each
  aforementioned defendant acted with a conscious disregard for the rights and safety of
  Decedent, LUIS HERMOSILLO and said defendants acted with the specific intent to
  injure and kill Decedent….” (See, Complaint for Damages, 10:4-8).

         Plaintiff cannot “plead facts that are merely consistent with a defendant’s liability,”
  as “threadbare recitals of the elements of a cause of action, supported by mere
  conclusory statements do not suffice.” Ashcroft v. Iqbal 556 U.S. 662, 678 (2009); see,
  Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, (2007) (“[A] plaintiff’s obligation to
  provide the ‘grounds’ of his ‘entitlement to relief’ requires more than labels and
  conclusions, and a formulaic recitation of the elements of a cause of action will not do.”)
  (internal citations omitted). Nor are the types of legal conclusions on offer from Plaintiff
  here sufficient to satisfy federal pleading standards. See, Iqbal, supra, 556 U.S.at 678
  (“[T]he tenet that a court must accept as true all of the allegations contained in a
  complaint is inapplicable to legal conclusions.”); Twombly, supra, 550 U.S. at 570
  (“courts ‘are not bound to accept as true a legal conclusion couched as a factual
  allegation.’”) (quoting Papasan v. Allain, 478 U.S. 265, 286 (1986)).

         Making matters worse, Plaintiff fails to specify, with facts, what each individual
  defendant supposedly did wrong and thereby caused Plaintiff’s alleged harm. Instead,
  she repeatedly refers to the deputies as a group, and thereby deprives each of fair
  notice and the ability to defend himself effectively. (See, Complaint for Damages, 9:7-
  11, 9:12-21, 10:4-9, 10:14-17). This is unacceptable, as “‘[a] plaintiff suing multiple
  defendants’ cannot simply ‘lump[ ] defendants ... together’ but instead ‘must allege the
  basis of [her] claim against each defendant to satisfy Federal Rule of Civil Procedure
  8(a)(2).’” See, Rendon v. County of Orange, 2019 WL 4284521, at *2 (C.D. Cal. 2019)
  (internal citation omitted); see also, Salazar v. County of Orange, 2012 WL 12896364,
  at *2 (C.D. Cal. 2012) (granting Rule 12 motion that “impermissibly lumped together
  claims and defendants”), aff’d, 564 F.App’x 322 (9th Cir. 2014). Put differently, “a
  complaint ‘must identify what action each Defendant took that caused [the plaintiff’s]
  harm, without resort to generalized allegations against Defendants as a whole.’” See,
  Rendon v. County of Orange, 2020 WL 974940, at *3 (C.D. Cal. 2020) (internal citation
  omitted). “When a pleading fails ‘to allege what role each Defendant played in the
  alleged harm,’ this ‘makes it exceedingly difficult, if not impossible, for individual
  Defendants to respond to Plaintiffs’ allegations.’” Sebastian Brown Prods., LLC v.
  Muzooka, Inc., 143 F.Supp.3d 1026, 1037 (N.D. Cal. 2015) (quoting Adobe Sys. Inc. v.
  Blue Source Grp., Inc., 125 F.Supp. 3d 945, 964 (N.D. Cal. 2015)).

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Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 74 of 86 Page ID #:151

  Humberto M. Guizar, Esq.
  Kent M. Henderson, Esq.
  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

        Based on the foregoing, Defendants request that Plaintiff agree to voluntarily
  amend her pleading to cure the deficiencies cited herein, or otherwise face a Motion to
  Dismiss. See, Fed. R. Civ. Proc. 12(b)(6).

             E. Plaintiff Olga’s Second Cause of Action Fails to State a Claim for
                Relief

          Plaintiff Olga purports to assert her Second Cause of Action as “Successor in
  Interest to Luis Hermosillo.” (See, Complaint for Damages, 12:1-4). As discussed
  above, she has not established herself as a successor in interest to Decedent’s estate.
  (See, Section I.C., supra). Even if she had, the theory advanced by Plaintiff in this
  cause of action is not a proper “survivorship” claim. Prior to dying, Decedent Luis
  Hermosillo did not have a “substantive due process” claim for alleged interference with
  his familial relationship with Plaintiff Olga. While he may have had a claim for
  “excessive force,” as stated above that claim has its textual source in the Fourth
  Amendment, not the “due process” provisions of the Fourteenth Amendment. See,
  Hufford, supra, 249 F.3d at 1151 (“If, in a Section 1983 suit, the plaintiff’s claims can be
  analyzed under an explicit textual source of rights in the Constitution, a court should not
  resort to the ‘more subjective standard of substantive due process.’”) (citing Armendariz,
  supra, 75 F.3d at 1319); see also, Albright, 510 U.S. at 273 (“The first step in any
  [Section 1983] claim is to identify the specific constitutional right allegedly infringed”);
  Graham, supra, 490 U.S. at 395 (“The validity of the claim must then be judged by
  reference to the specific constitutional standard which governs that right...”).
  Accordingly, there is no “survivorship” theory applicable to this claim.

          In terms of her individual capacity, and giving the Complaint a charitable reading,
  Plaintiff Olga’s attempt to proceed against “All Defendants” falls flat.

                  i.    County of Orange

        This being another claim under 42 U.S.C. § 1983, Plaintiff Olga may not proceed
  against the County on a respondeat superior theory of liability. See, Herd, supra, 311
  F.Supp.3d 1166. Instead, she much allege facts that demonstrate constitutional harm
  caused by municipal policy, practice, or custom. Sincerny, supra, 2017 WL 4642432, at
  *3. She has not done so. Indeed, the words “County” or “County of Orange” do not
  even appear in this case of action. (See generally, Complaint for Damages, 12:1-14:6).
  Accordingly, the claim fails as a matter of law against the County and is subject to
  dismissal. See, Rodrigues v. County of Orange, 2020 WL 3396619, at *3-4; see also,
  Fed. R. Civ. Proc. 12(b)(6).

                  ii.   Orange County Sheriff’s Department

          As discussed in Section I.A., supra, the Sheriff’s Department is a non-suable
  entity. Plaintiff’s “excessive force” claim against it must be dismissed for this reason
  alone.

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Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 75 of 86 Page ID #:152

  Humberto M. Guizar, Esq.
  Kent M. Henderson, Esq.
  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

                 iii.   Deputies Renzi, Faour, and Kocher

         Similar to her “excessive force” claim, Plaintiff Olga’s “Substantive Due Process”
  claim against the individual deputy defendants fails to state facts sufficient to recover
  against these defendants. Once again, Plaintiff’s pleading is jammed with conclusory
  phrases and empty legal jargon that merely parrots the language of a “familial
  association” claim, without providing the required facts. (See, e.g., Complaint for
  Damages, ¶ 39 (describing the deputies’ use of force as “so outrageous that it shocks
  the conscience”); ¶ 41 (describing the actions of the deputies as “shock[ing] the
  conscience, in that they acted with deliberate indifference to the constitutional rights of
  Decedent, LUIS HEMOSILLO, and/or with purpose to harm unrelated to any legitimate
  law enforcement objective.”). This is unacceptable, as threadbare recitals of the
  elements of a cause of action do not satisfy the federal pleading standards. See, Iqbal,
  supra, 556 U.S. 678; Twombly, supra, 550 U.S. 555.

         Also similar to her “excessive force” claim, Plaintiff has resorted to lumping
  together the individual defendants and not alleging facts as to who did what wrong to
  whom. Without specification as to which defendant did what and supposedly caused
  harm, Plaintiff’s claim fails to meet Rule 8’s pleading threshold and subject this claim to
  a Motion to Dismiss. See, Rendon, supra, 2019 WL 4284521, at *2 (granting Rule 12
  motion to dismiss where plaintiff failed to identify which conduct was attributable to
  multiple individual defendants, reasoning that “without disaggregation of Plaintiff’s
  lumped allegations,” [the defendants] are not on fair notice of the misconduct with which
  they are respectively charged…”).

        Based on the foregoing, Defendants request that Plaintiff agree to voluntarily
  amend her pleading to cure the deficiencies cited herein, or otherwise face a Motion to
  Dismiss. See, Fed. R. Civ. Proc. 12(b)(6).

            F. Plaintiff Olga’s Fails to State a Claim for “Municipal Liability”

          Plaintiff Olga brings her Third Cause of Action for “Municipal Liability” under 42
  U.S.C. § 1983 against the County and the Sheriff’s Department. (See, Complaint for
  Damages, 14:7-17:9). As discussed above, OCSD is not a proper defendant and must
  be dismissed. (See, Section I.A., supra). As against the County, Plaintiff Olga does not
  have standing to pursue this cause of action as a successor in interest to Decedent’s
  estate. (See, Section I.C., supra). Nor may she prosecute this purported claim against
  the County on any “wrongful death” theory. See, Hernandez, supra, 2020 WL 3101041,
  at *3 (“[T]here is no ‘wrongful death’ claim under § 1983.”) (citing Herd, supra, 311
  F.Supp.3d at 1164); A.B., supra, 2019 WL 1578380, at *6 (“‘[C]ase law is clear that only
  survivor action may be brought pursuant to 42 U.S.C. § 1983.’”) (quoting Herd, supra,
  311 F.Supp.3d at 1165). On these grounds alone, Plaintiff’s Third Cause of Action fails
  and must be dismissed.

        Plaintiff’s cause of action suffers from additional substantive defects warranting
  dismissal. She styles this claim as one based on alleged “unconstitutional custom or
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Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 76 of 86 Page ID #:153

  Humberto M. Guizar, Esq.
  Kent M. Henderson, Esq.
  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

  policy,” and stuffs her pleading with a full page of speculative and legally-inadequate
  allegations about supposed “customs, policies, and practices.” (See, Complaint for
  Damages, 14:22-15:28). These fact-bare allegations are surrounded by separate
  conclusory legal jargon. (See, e.g., Complaint for Damages, 14:22-25 (alleging the
  County acted “with gross negligence and with reckless and deliberate indifference to the
  rights and liberties of the public in general, and of Plaintiffs and DECEDENT…”); 16:3-8
  (“The aforementioned policies and practices…was a moving force that caused
  Defendants DEPUTY RENZI, DEPUTY FAOUR, DEPUTY KOCHER to use
  unreasonable deadly force on DECEDENT…”); 16:14-16 (“Said defendants also acted
  with deliberate indifference to the foreseeable effects and consequences of these
  policies with respect to the constitutional rights of Decedent, Plaintiffs, and other
  individuals similarly situated…”).

          Even a cursory review of the allegations expose this cause of action as one
  facially devoid of sufficient facts showing a particular policy or custom caused a
  constitutional violation. Instead, and repeatedly, Plaintiff resorts to fact-bare legal
  conclusions to advance her claim. Put plainly, this is not good enough. A plaintiff
  cannot “plead facts that are merely consistent with a defendant’s liability,” as
  “threadbare recitals of the elements of a cause of action, supported by mere conclusory
  statements do not suffice.” Iqbal, supra, 556 U.S. at 678; see, Twombly, 550 U.S. 555
  (“[A] plaintiff’s obligation to provide the ‘grounds’ of his ‘entitlement to relief’ requires
  more than labels and conclusions, and a formulaic recitation of the elements of a cause
  of action will not do.”) (internal citations omitted); In re Gilead Scis. Sec. Litig., 536 F.3d
  1049, 1055 (9th Cir. 2008) (when evaluating the merit of a Rule 12(b)(6) Motion to
  Dismiss, the court need not accept as true “allegations that are merely conclusory,
  unwarranted deductions of fact, or unreasonable inferences.”). These settled pleading
  rules apply to “Municipal Liability” claims like Plaintiff’s. See, A.E. ex rel. Hernandez v.
  Cty. of Tulare, 666 F.3d 631, 637 (9th Cir. 2012) (noting that pleading standards
  announced in Iqbal and Twombly “appl[y] to Monell claims and should govern future
  pleadings in this case”); see also, Moore v. County of Orange, 2017 WL 10518114, at
  *3 (C.D. Cal. 2017) (citing rule); Wilkey v. County of Orange, 2017 WL 11447980, at *
  (C.D. Cal. 2017) (dismissing Monell claim with prejudice where “custom and policy”
  allegations amounted to “rote recitation of the elements of a Monell claim for Section
  1983 liability against a municipality…”); Davis v. City of San Jose, 2014 WL 2859189, at
  *13 (N.D.Cal. 2014) (granting Rule 12 motion to dismiss Monell claims as being “entirely
  conclusory” and “nothing more than a simple recitation of the elements of a Monell
  claim. As such, Plaintiff’s allegations are not entitled to a presumption of truth.”).

            Even under the liberal pleading standards established by Iqbal and Twombly,
  Plaintiff’s barebones allegations fail. Plaintiff does not allege any facts showing that
  any of the battery of claimed “policies” or “customs” actually exist. See, Herd, supra,
  311 F.Supp.3d at 1168 (Monell claim based on “policy and custom” dismissed where
  Plaintiffs “fail[ed] to allege any facts showing that any of [the] claimed policies of
  customs actually exist.”); Johnson v. Baca, 2013 WL 12131358, at *13 (C.D.Cal. 2013)
  (dismissing Monell claim where the complaint failed “to allege any facts showing the
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Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 77 of 86 Page ID #:154

  Humberto M. Guizar, Esq.
  Kent M. Henderson, Esq.
  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

  existence of this custom or practice” and did not “allege the substance of the County
  defendants’ current policy or explain why it is inadequate”); Smith v. Stanislaus, 2012
  U.S. Dist. LEXIS 9288, *10 (E.D. Cal. 2012) (“[T]o sufficiently state a claim under
  Monell, plaintiff must allege facts establishing a policy, it is not enough simply to state
  that there is a policy.”). Nor does Plaintiff allege sufficient facts demonstrating a
  particular “policy or custom” amounted to “deliberate indifference” that caused an
  alleged constitutional violation. See, Herd, supra, 311 F.Supp. at 1168 (“Merely alleging
  that ‘Defendants acted with deliberate indifference’ is conclusory and does not show
  that the alleged deficiencies were ‘obvious and the constitutional injury was likely to
  occur.’”) (internal citation omitted); see also, Maldonado v. County of Orange, 2019 WL
  6139937, at *2 (C. D. Cal. 2019) (dismissing Monell claim based on “policy and custom”
  where “[t]he Complaint contains only sweeping allegations that the County’s policies
  and practices generally empower excessive force, but ‘Plaintiff[] fail[s] to allege any
  facts showing that any of these claimed policies or customs actually exist,’ much less
  how they caused the specific use of force at issue here.”); Rendon, supra, 2019 WL
  4284521, at *2 (Monell claim dismissed because “Plaintiff’s sole, conclusory allegations
  of policies or practices that encompass all of Defendants’ alleged misconduct is
  insufficient to state a claim for municipal liability under § 1983.”); Moore, supra, 2017
  WL 10518114, at *3-4 (Monell claim dismissed: “Moore’s Complaint falls short of the
  requirements for pleading a Monell claim. Rather than include specific factual
  allegations, paragraph 57 of Moore’s Complaint sets forth a speculative list of various
  customs, policies, and practices that allegedly violated her Fourth Amendment and
  Fourteenth Amendment rights…. Moore’s list contains ‘no allegations of underlying
  facts.’ [Citation]. Therefore, Moore has failed to meet the Monell pleading standard.”).

          Additionally, it is well settled that allegations regarding an isolated incident are
  insufficient to support Plaintiff’s purported “policy and custom” claim. See, Thompson v.
  City of Los Angeles, 885 F.2d 1439, 1443 (9th Cir. 1989), overruled on other grounds by
  Bull v. City & County of San Francisco, 595 F.3d 964, 981 (9th Cir. 2010) (“[P]roof of
  random acts or isolated events are insufficient to establish custom.”); Trevino v. Gates,
  99 F.3d 911, 918 (9th Cir. 1996) (“Liability for improper custom may not be predicated
  on isolated or sporadic incidents; it must be founded upon practices of sufficient
  duration, frequency and consistency that the conduct has become a traditional method
  of carrying out policy.”). Indeed, municipal liability claims must be supported by a
  record of numerous, similar incidents. Sloman v. City of Simi Valley, 21 F.3d 1462,
  1470 (9th Cir. 1994) (“Individual action like [the defendant officer’s] does not rise to the
  level of the ‘well-settled’, ‘widespread’ practices contemplated in the cases discussing
  municipal liability”; jury verdict against city defendant for one employee officer’s
  “habitual” conduct overturned as error); Meehan v. Los Angeles County, 856 F.2d 102
  (9th Cir. 1988) (two incidents not sufficient to establish actionable Monell custom); Davis
  v. Ellensburg, 869 F.2d 1230 (9th Cir. 1989) (manner of one arrest insufficient to
  establish wrongful Monell policy); Davis, supra, 2014 WL 2859189, at *10 (dismissing
  Monell claims and noting plaintiffs allegations contained “no facts…concerning a pattern
  of repeated violations that would give the City fair notice to enable it to defend itself
  properly. [Citation].”) (emphasis original); A. B., supra, 2019 WL 1578380, at *4 (“In the
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Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 78 of 86 Page ID #:155

  Humberto M. Guizar, Esq.
  Kent M. Henderson, Esq.
  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

  FAC, Plaintiffs allege that Defendants were acting pursuant to customs, policies, usages
  and practices of City and the City of Santa Ana Police Department, that Defendants
  violated Plaintiffs’ rights as a result of those policies, and that Plaintiffs were injured as a
  result. [Citation]. However, Plaintiffs do not allege any specific facts showing that
  Defendants had an ongoing policy or practice that resulted in widespread violations of
  constitutional rights. Plaintiff does not point to any further alleged incidents of Fourth
  Amendment excessive force, unreasonable seizure, or unlawful search other than the
  July 21, 2017 incident that gave rise to this action. Plaintiffs ‘bare assertion’ that
  Defendants have an ongoing unlawful policy or practice, without more, does not suffice
  to state a claim for relief. [Citation]. Accordingly, Defendants’ Motion to Dismiss
  Plaintiffs’ fourth claim is GRANTED WITH PREJUDICE.”) (emphasis added). Because
  factual allegations of similar incidents are completely absent from Plaintiff’s Third Cause
  of Action, dismissal is appropriate. See, Fed. R. Civ. Proc. 12(b)(6).

        Based on the foregoing, Defendants request that Plaintiff agree to voluntarily
  amend her pleading to cure the deficiencies cited herein, or otherwise face a Motion to
  Dismiss. See, Fed. R. Civ. Proc. 12(b)(6).

                G. Plaintiff Olga’s Fifth Cause of Action Fails to State a Claim for Relief

        Plaintiff Olga purports to sue “All Defendants” for alleged “Wrongful
  Death/Survival Based on Negligence (Including Negligent Tactics),” and attempts to do
  so both as Decedent’s statutory heir and successor in interest. (See, Complaint for
  Damages, 19:15-18). She does not have standing as a successor in interest (see,
  Section I.C., supra), meaning she may proceed only in her individual capacity.

           To move forward on this claim against any of the defendants, Plaintiff is required
  to plead a statutory basis that authorizes suit against them. See, Searcy, supra, 177
  Cal.App.3d at 802; D.K. ex rel. G.M., supra, 667 F.Supp.2d at 1198 (citing Searcy with
  approval and dismissing plaintiffs’ state law claim for failure to identify an authorizing
  statute). She has not done so. Review of this cause of action confirms that Plaintiff
  does not identify any statute that permits this type of claim against governmental
  defendants like the individual deputies, the County, or the Sheriff’s Department. 5
  “[D]isregard of statutes is fatal to a plaintiff's claim of public liability,” and subjects
  Plaintiff’s claims to a Motion to Dismiss. See, Ramsey, supra, 220 Cal.App.3d at 1541;
  Allyson v. Department of Transportation, 53 Cal.App.4th 1304, 1313 (1997) (after
  passage of the California Tort Claims Act, “there is no question but that government tort
  liability is wholly statutory.”).

          “Duty cannot be alleged simply by stating, ‘defendant had a duty under the law’;
  that is a conclusion of law, not an allegation of fact.” Searcy, supra, 177 Cal.App.3d at
  802. Plaintiff’s empty assertions that the defendant deputies “had a duty to Decedent
  LUIS HERMOSILLO and Plaintiffs” are therefore meaningless. (See, Complaint for
  Damages, ¶¶ 67, 68). Nor is it good enough for Plaintiff to cite to things like “California

  5   Again, the Sheriff’s Department is not a proper defendant. (See, Section I.A., supra).
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Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 79 of 86 Page ID #:156

  Humberto M. Guizar, Esq.
  Kent M. Henderson, Esq.
  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

  Peace Officers Standard Training, national standards for use of force and [the deputies]
  own police departments’ training mandated for tactical firearms training”; “accepted
  national standards”; or “OCSD Policies and Procedures manual and training including in
  regards to use of force and the use of deadly force….” (See, Complaint for Damages,
  ¶¶ 67, 68). By rule, Departmental policies and manuals do not form the basis for the
  applicable standard of care, and departmental policies, and P.O.S.T. guidelines cannot
  serve as the basis for a state tort (or, for that matter, civil rights claims). Under
  substantive California law, deviation from departmental policy directives or regulations
  “can only serve as a basis for administrative action. They cannot create a duty to
  individual citizens.” Lehto v. City of Oxnard, 171 Cal.App.3d 285, 294-295 (1985).

        With no statutory duty stated, this Cause of Action is subject to dismissal. See,
  Fed. R. Civ. Proc. 12(b)(6).

            H. Plaintiff Olga’s Sixth Cause of Action Fails to State a Claim for Relief

          Plaintiff Olga purports to sue the individual defendants for “Negligent Infliction of
  Emotional Distress” (“NIED”). (See, Complaint for Damages, 21:21-23). As discussed
  in Section I.B.ii., supra, NIED is not a cognizable claim in California, let alone one
  statutorily authorized as a basis for suit against public employees. See, Gu, supra, 132
  Cal.App.4th at 204 (“[T]he California Supreme Court has emphasized that ‘there is no
  independent tort of negligent infliction of emotional distress.’”) (emphasis added);
  Potter, supra, 6 Cal. 4th at 984 (“[T]here is no independent tort of negligent infliction of
  emotional distress. The tort is negligence, a cause of action in which a duty to the
  plaintiff is an essential element.”) (internal citation omitted); Christensen, supra, 54 Cal.
  3d at 884 (“Negligent infliction of emotional distress is not an independent tort….”); see
  also, Marlene F., supra, 48 Cal.3d at 588 (“[The] negligent causing of emotional distress
  is not an independent tort but the tort of negligence….”) (quoting 6 Witkin, Summary of
  Cal. Law, Torts, § 838, p. 195 (9th ed. 1988)); Slaughter, supra, 162 Cal.App.3d at 1242
  (“Negligent Infliction of Emotional Distress” is not a stand-alone cause of action, but is
  instead “a variation of the tort of negligence.”).

         Plaintiff Olga does not say anything in the Complaint to overcome these settled
  principles. The claim is therefore properly subject to a Motion to Dismiss. See, Fed. R.
  Civ. Proc. 12(b)(6).

            I. Plaintiff Olga’s Seventh Cause of Action Fails to State a Claim for
               Relief

        Plaintiffs level their “Bane Act” claim on behalf of “All Plaintiffs” against “All
  Defendants.” Plaintiff Xavier’s claim fails for the reasons discussed in Section I.B.iii.,
  supra. Plaintiff Olga’s attempt to proceed on this cause of action fails for similar
  reasons.

          First, Plaintiff Olga does not make a single factual allegation that any defendant
  interfered with any of her rights by “threat, intimidation, or coercion.” (See generally,
                                                                                               16
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 80 of 86 Page ID #:157

  Humberto M. Guizar, Esq.
  Kent M. Henderson, Esq.
  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

  Complaint for Damages, 23:5-24:16). Instead, Plaintiff’s allegations focus exclusively
  on Decedent Luis Hermosillo being subjected to alleged “excessive force,” and alleged
  violation of “LUIS HERMOSILLO’S civil rights as protected by section 52.1 of the Civil
  Code.” (See, Complaint for Damages, 23:23-24:2, 24:10-11). As Plaintiff Olga (like
  Xavier) has not alleged facts concerning her rights being infringed upon by “threat,
  intimidation, or coercion,” along with the requisite “specific intent,” her cause of action is
  insufficiently pled against all governmental defendants and must be dismissed. See,
  Bay Area, supra, 38 Cal.App.4th at 144 (“[The Bane Act] is limited to plaintiffs who
  themselves have been the subject of violence or threats.”); Bresaz, supra, 136
  F.Supp.3d at 1137 (“[A] party lacks standing to bring a claim under the Bane Act when
  the party does not claim to have personally suffered a violation of a constitutional or
  statutory right.”) (emphasis original); Reese, supra, 888 F.3d at 1045 (recognizing a
  Bane Act claim under Civil Code § 52.1 must include allegations of “specific intent” that
  the defendants “intended not only the force, but [also] its unreasonableness.”); A. B.,
  supra, 2019 WL 1578380, at *5 (granting Rule 1b(b)(6) motion to dismiss where
  plaintiffs “do not allege that Defendants acted with a specific intent to use unreasonable
  force against Decedent, or to violate his constitutional rights.”); accord Searcy, supra,
  177 Cal.App.3d at 802 (“[In order] to state a cause of action [for government tort
  liability], every fact essential to the existence of a statutory liability must be pleaded
  with particularity….”) (emphasis added).

        Secondly, Plaintiff Olga cannot pursue this cause of action under any state law
  “wrongful death” theory, as “[t]he Bane Act is simply not a wrongful death provision.”
  See, Bay Area, supra, 38 Cal.App.4th at 144.

          Without any facts sufficient to allege a violation of her own rights, and a “wrongful
  death” theory categorically unavailable, Plaintiff Olga’s only conceivable standing for
  this claim is as a successor in interest to Decedent. But, as discussed in Section I.C.,
  fn. 3, supra, even if Plaintiff Olga did wish to proceed in this capacity, she has not
  satisfied the statutory requirements for doing so.

        Based on the foregoing, Defendants request that Plaintiff voluntarily amend the
  Complaint to omit this faulty cause of action, or otherwise face a Motion to Dismiss.
  See, Fed. R. Civ. Proc. 12(b)(6).

       II.   Motion for More Definite Statement (Fed. R. Civ. Proc. 12(e))

          At the beginning of each cause of action, Plaintiffs attempt to “re-allege and
  incorporate each and every allegation of each and every paragraph above as though
  fully set forth herein.” (See, Complaint for Damages, ¶¶28, 37, 46, 59, 66, 72, 78). By
  the beginning of the Seventh Cause of Action, Plaintiffs have “re-allege[d] and
  incorporate[d]” seventy-seven paragraphs of text spanning twenty-two pages that
  reference seven state and federal causes of action (each of which has its own pleading
  standards to be satisfied, and all of which raise doubt as to who Plaintiff attempts to sue
  and for what).

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Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 81 of 86 Page ID #:158

  Humberto M. Guizar, Esq.
  Kent M. Henderson, Esq.
  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

          This type of “chain letter” and shotgun pleading style by which “each and every”
  allegation of “each and every” preceding paragraph is “incorporated” into each new
  claim is improper. Indeed, it needlessly violates the rules that require a complaint to
  clearly set forth who is suing whom, for what relief, and on what theory, and with
  enough detail to guide discovery. See, McHenry v. Renne, 84 F.3d 1172, 1177 (9th Cir.
  1996); Anderson v. Dist. Bd. Of Trs. Of Cent. Fla. Cmty Coll., 77 F.3d 364, 366 (11th
  Cir. 1996) (affirming grant of Rule 12(e) motion where “complaint [was] a perfect
  example of ‘shotgun’ pleading in that it is virtually impossible to know which allegations
  of fact are intended to support which claim(s) for relief.”).

           In such circumstances, defendants cannot intelligently determine the nature of
  the allegations s/he/it faces, and a Fed. R. Civ. Proc. 12(e) Motion for More Definite
  Statement lies. See, Mason v. County of Orange, 251 F.R.D. 562, 563-564 (C.D. Cal.
  2008) (“Experience teaches that, unless cases are pled clearly and precisely, issues are
  not joined, discovery is not controlled, the trial court’s docket becomes unmanageable,
  the litigants suffer, and society loses confidence in the court’s ability to administer
  justice.”); Salazar v. County of Orange, 564 Fed. Appx. 322, 322 (9th Cir. 2014) (“As the
  district court correctly held, a fatal flaw in Plaintiff’s Third Amended Complaint was that it
  ‘impermissibly lump[ed] together claims and defendants.’ This left ‘Defendants guessing
  [which] claim [wa]s brought against them.’”); Rendon, supra, 2019 WL 4284521, at *2
  (“‘As a general rule, when a pleading fails ‘to allege what role each Defendant played in
  the alleged harm,’ this ‘makes it exceedingly difficult, if not impossible, for individual
  Defendants to respond to Plaintiffs’ allegation.’”) (internal citations omitted); McHenry,
  supra, 84 F. 3d at 1176 (affirming dismissal where “no attempt is made to match up the
  specific factual allegations and the specific legal claims to a specific defendant.”);
  Anderson, supra, 77 F.3d at 366-67 (rejecting a plaintiff’s “reincorporation” complaint as
  impermissibly confusing under Fed. R. Civ. Proc. 12(e)); Rodrigues, supra, 2020 WL
  3396619, at *3 (citing Anderson with approval and granting Rule 12(e) motion where
  complaint “adopts the allegations of all preceding claims” and plaintiff “fails to
  incorporate only those paragraphs which apply to each claim, the most egregious
  example of which is the final claim, incorporating and re-alleging eighty four paragraphs
  that reference nine causes of action.”); Moore, supra, 2017 WL 10518114, at *2-3
  (granting Rule 12(e) motion where plaintiff’s complaint deemed “an improper shotgun
  pleading because it realleges and incorporates all prior allegations into each succeeding
  cause of action.”); see also, Van Dyke Ford, Inc. v. Ford Motor Co., 399 F.Supp. 277,
  284 (E.D. Wisc. 1975) (plaintiff in multi-defendant case ordered to state who each of his
  claims is targeted against); accord Phillips and Stevenson, Cal. Prac. Guide: Fed. Civil
  Proc. Before Trial (The Rutter Group 2020), ¶ 9:354 (Fed. R. Civ. Proc. 12(e) implicated
  where “ambiguity arises in determining the nature of the claim or the parties against
  whom the claim is made.”).

         Plaintiffs’ efforts to “re-allege and incorporate” the many allegations of their
  Complaint are foreclosed by the above authorities. If this were not reason enough to
  withdraw the pleading and start over, there are other areas of the Complaint that raise
  questions as to who is intending to sue whom and over what conduct. For example, the
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Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 82 of 86 Page ID #:159

  Humberto M. Guizar, Esq.
  Kent M. Henderson, Esq.
  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

  “Assault and Battery” cause of action is titled such that one would believe it is pursued
  by only Plaintiff Olga Hermosillo. (See, Complaint for Damages, 17:10-12). But tucked
  within the text of this claim are repeated references to “Xavier Hermosillo” as a plaintiff.
  (See, Complaint for Damages, ¶¶ 64, 65). A similar problem arises in the Sixth Cause
  of Action for “NIED,” where the title suggests it is brought against the individual
  defendants (see, Complaint for Damages, 21:21-23), but the text includes allegations
  against “Defendants COUNTY OF ORANGE [and] OCSD….” (See, Complaint for
  Damages, 22:7-10). The end result is the type of confusion in the pleading that fails to
  satisfy Rule 8’s “short and plain statement” requirement. See, Rodrigues, supra, 2020
  WL 3396619, at *2 (“‘[T]he short and plain statement must provide the defendant with
  fair notice of what the plaintiff’s claim is and the grounds upon which it rests.’”) (citing
  Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 346 (2005)); see also, In re GlenFed, Inc.
  Sec. Litig., 42 F.3d 1541 (9th Cir.1994) (emphasizing that “[a] complaint is not a
  puzzle…and we are loathe to allow plaintiffs to tax defendants, against whom they have
  leveled very serious charges, with the burden of solving puzzles in addition to the
  burden of formulating an answer to their complaint.”); accord Rodriguez v. Doral
  Mortgage Corp., 57 F.3d 1168, 1171 (1st Cir. 1995) (courts must protect a civil
  “defendant’s inalienable right to know in advance the nature of the cause of action being
  asserted against him.”).

         Based on the current drafting of the Complaint, Defendants invite Plaintiffs to
  voluntarily amend the pleading to cure the above-described deficiencies, or otherwise
  face a Rule 12(e) Motion for More Definite Statement.

      III.   Motion to Strike (Fed. R. Civ. Proc. 12(f))

           By rule, a court may strike from a pleading any material that is “redundant,”
  “immaterial,” or “impertinent.” See, Fed. R. Civ. Proc. 12(f). The essential function of a
  Rule 12(f) Motion is to “avoid the expenditure of time and money that must arise from
  litigating spurious issues by dispensing with those issues prior to trial.” Fantasy, Inc. v.
  Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), rev’d on other grounds, 510 U.S. 517
  (1994); see, California ex. Rel. State Lands Com. v. United States, 512 F.Supp. 36, 38
  (N.D.Cal. 1981) (a “motion to strike will be well taken” where the motion “may have the
  effect of…streamlining the ultimate resolution of the action.”).

         Here, there are several paragraphs and allegations that invite a righteous Rule
  12(f) Motion to Strike.

             A. Damages Allegations

       At various times and places within the Complaint, Plaintiffs assert entitlement to
  damages that simply are not available under their purported theories of recovery.

                  i.   First Cause of Action – Violation of Civil Rights (42 U.S.C. § 1983)

         Plaintiff Olga’s problematic damages allegations lie within Paragraphs 34, 35,
                                                                                            19
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 83 of 86 Page ID #:160

  Humberto M. Guizar, Esq.
  Kent M. Henderson, Esq.
  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

  and 36 of the Complaint. At Paragraph 34, Plaintiff seeks damages in a “survivorship”
  capacity for “pain suffering, anxiety, fear of impending death and severe emotional
  distress that Decedent LUIS HERMOSILLO suffered before his death….” (See,
  Complaint for Damages, ¶ 34, 10:18-21). Plaintiff lacks standing to pursue these
  damages. (See, Section I.C., supra). Standing aside, these alleged damages are not
  available in a “survivorship” action. By rule, a successor in interest in a survival action
  may only recover “the loss or damage that the decedent sustained or incurred before
  death….” Code of Civil Procedure § 377.34. Expressly prohibited from recovery are
  “damages for pain, suffering, or disfigurement” or “emotional distress.” Id.; see, Mega
  Life and Health Ins. Co. v. Superior Court, 172 Cal.App.4th 1522, 1528 (2009) (“[I]n an
  action brought on behalf of a deceased plaintiff, as a rule, all appropriate damages may
  be recovered—but damages for pain and suffering may not.”); Martin v. California Dept.
  of Veterans Affairs, 560 F.3d 1042, 1051 (9th Cir. 2009) (interpreting and applying
  California law and stating, “Section 377.34 does not permit recovery for emotional
  distress upon the death of the person allegedly harmed....”).

          Plaintiff also seeks to recover impermissible “loss of value of life” damages in
  Paragraph 34. (See, Complaint for Damages, ¶ 35, 10:21-24). A claim for the
  damages styled by Plaintiff improperly departs from the Supreme Court’s requirement
  that Section 1983 damages be limited to compensation for injuries actually
  experienced by the injured party. See, Memphis Community School Dist. v. Stachura,
  477 U.S. 299, 306 (1986) (“[W]hen § 1983 plaintiffs seek damages for violations of
  constitutional rights, the level of damages is ordinarily determined according to
  principles derived from the common law of torts.”); Prosser, Wade and Schwartz, Cases
  and Materials on Torts, p. 535 (10th ed. 2000) (tort law has long required that the
  plaintiff have a “cognitive awareness” of his or her loss to ensure that s/he receives
  compensation only for the injuries s/he actually suffered). Here, there are no facts
  alleged suggesting Decedent was damaged by a cognitive awareness of his loss of life.
  And exercising common sense, there cannot be. Accordingly, these immaterial
  damages claims must be stricken.

          Sticking with Paragraph 34, Plaintiff Olga alleges she “seeks damages for funeral
  and burial expenses of Decedent LUIS HERMOSILLO in a sum to be determined
  according to proof.” (See, Complaint for Damages, ¶ 34, 10:25-26). These damages
  are not available to her in any capacity on this cause of action. If viewed through a
  “survivorship” lens, then these damages are foreclosed by the rule that the damages
  recoverable by a “successor in interest” are “limited to the loss or damage that the
  decedent sustained or incurred before death….” See, Code of Civil Procedure §
  377.34 (emphasis added). Plaintiff cannot argue in good faith that Decedent was
  entitled to his “funeral and burial expenses” before dying. As such, she cannot recover
  them as a “successor-in-interest.” She likewise cannot recover them on any “wrongful
  death” theory, as Section 1983 does not permit for “wrongful death” actions. See, Herd,
  supra, 311 F.Supp.3d at 1165; Hernandez, supra, 2020 WL 3101041, at *3; A. B.,
  supra, 2019 WL 1578380, at *6.

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Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 84 of 86 Page ID #:161

  Humberto M. Guizar, Esq.
  Kent M. Henderson, Esq.
  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

           Turning to Paragraph 35, Plaintiff Olga purports to seek various damages
  outlined in subparagraphs a), b), and c). (See, Complaint for Damages, ¶ 35, 10:27-
  11:12). She claims that each of these damages run to her personally. (See, Complaint
  for Damages, 10:27-11:12) (“Decedent LUIS HERMOSILLO died and Plaintiff OLGA
  HERMOSILLO QUINONES has sustained and incurred, and is certain in the future to
  sustain and incur losses, injuries, and damages which are itemized as follows:…”). Her
  ability to recover such damages could only extend from a “wrongful death” claim, and no
  such action is available to her under Section 1983. See, Herd, supra, 311 F.Supp.3d at
  1165; Hernandez, supra, 2020 WL 3101041, at *3; A. B., supra, 2019 WL 1578380, at
  *6. Each and every category of damages sought in subparagraphs a), b), and c) of
  Paragraph 35 is therefore not recoverable and, in turn, immaterial to the claim. Plaintiff
  should therefore voluntarily amend to omit these allegations.

         Several of Plaintiff’s damages allegations in Paragraph 36 fail as a matter of law
  for reasons discussed herein. At subparagraph b) of Paragraph 36, Plaintiff Olga
  requests damages for Decedent’s “pain, suffering, and emotional trauma.” (See,
  Complaint for Damages, 11:21-22). But as set forth above, even if Plaintiff Olga had
  standing to make a “survivorship” claim (she does not), these damages are not
  recoverable. See, Code of Civil Procedure § 377.34; see also, Mega Life, supra, 172
  Cal.App.4th at 1528; Martin, supra, 560 F.3d at 1051. Her attempt to simultaneously
  seek damages personal to herself in subparagraph d) is also faulty, as this cause of
  action is personal to Decedent—not Plaintiff Olga. See, Herd, supra, 311 F.Supp.3d at
  1165; Whitmore v. Arkansas, 495 U.S. 149, 160 (1990); see also, Alderman, supra, 394
  U.S. at 174 (“Fourth Amendment rights are personal rights which…may not be
  vicariously asserted.”); Smith v. City of Fontana, 818 F.2d 1417 (9th Cir. 1987),
  overruled on other grounds by Hodgers-Durgin v. de la Vina, 199 F.3d 1037 (9th Cir.
  1999) (same).

                 ii.   Second Cause of Action – Violation of Substantive Due Process
                       (42 U.S.C. § 1983)

          In the Second Cause of Action for alleged “Violation of Due Process,” Plaintiff
  alleges “Decedent LUIS HERMOSILLO experienced pain, suffering, anxiety, fear of
  impending death and extreme emotional distress….” (See, Complaint for Damages, ¶
  42, 13:10-13). This allegation, however, is immaterial, as the claim at issue
  (interference with familial relationship) is personal to Plaintiff Olga. What Decedent may
  or may not have “experienced” in the moments immediately before passing has no
  bearing on what Plaintiff may or may not recover—the only operative fact is that he
  passed. This allegation is therefore subject to a Motion to Strike. See, Fed. R. Civ.
  Proc. 12(f).

         Separately, Plaintiff’s allegation that she “suffered emotional distress, mental
  anguish, and pain” is immaterial and must be stricken. (See, Complaint for Damages, ¶
  43, 13:18-20). Plaintiff Olga may not recover for any such injury or damages under the
  Fourteenth Amendment. See, Chaudry v. City of Los Angeles, 2014 WL 12558777, at
                                                                                          21
Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 85 of 86 Page ID #:162

  Humberto M. Guizar, Esq.
  Kent M. Henderson, Esq.
  Angel Carrazco, Jr., Esq
  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

  *2-3 (C.D. Cal. 2014) (on a Fourteenth Amendment claim, a plaintiff cannot recover
  damages for “grief, sorrow, or mental anguish”).

                 iii.   Fifth Cause of Action – Wrongful Death/Survivorship Based on
                        Negligence

         In Paragraph 71, Plaintiff Olga alleges an entitlement to “punitive damages”
  against individual defendants Deputy Renzi, Deputy Faour, and Deputy Kocher. But the
  damages claim is directly undercut by the liability theory on which this cause of action is
  predicated: negligence. How can these defendants be charged as acting “negligently”
  on the one hand, while simultaneously being accused of “malicious, willful, oppressive
  and despicable conduct” carried out with a “conscious disregard” and “specific intent to
  injure and kill,” on the other?

         As stated by the California Supreme Court:

                Negligence is an unintentional tort, a failure to exercise the
                degree of care in a given situation that a reasonable man
                under similar circumstances would exercise to protect others
                from harm. A negligent person has no desire to cause the
                harm that results from his carelessness, and he must be
                distinguished from a person guilty of willful misconduct, such
                as assault and battery, who intends to cause harm. If
                conduct is negligent, it is not willful; if it is willful, it is not
                negligent.

  Donnelly v. S. Pac. Co., 18 Cal.2d 863, 869 (1941) (internal citations omitted)
  (emphasis added); see, Mendez v. County of Alameda, 2005 WL 3157516, at *12 (N. D.
  Cal. 2005) (“It is a non sequitur to speak of parties intentionally agreeing to fail to
  exercise due care.”).

         In short, Plaintiff’s alleged “punitive damages” within this cause of action are
  premised on a legal impossibility. Defendants simply cannot be intentionally negligent.
  Accordingly, for this reason, Plaintiff’s defective “punitive damages” claim should be
  stricken from this cause of action. See, Fed. R. Civ. Proc. 12(f).

                 iv.    Prayer for Relief

         Plaintiffs’ “Prayer for Relief” contains several damages allegations vulnerable to a
  Motion to Strike. (See, Complaint for Damages, 24:17-25:6). Initially, Plaintiffs’ prayer
  for “survival damages” at subparagraph 1 fails, as no plaintiff has established standing
  to recover in any “survivorship” capacity. (See, Sections I.B. and I.C., supra). Plaintiffs’
  claim for “severe emotional distress, anxiety, [and] fear” in subparagraph 4 is also
  impermissible. These damages are not available under any “survivorship” theory; they
  are not available under any “wrongful death” theory; and Plaintiffs have failed to
  otherwise state a valid claim for relief whereby these damages may run to them
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Case 8:20-cv-01387-JVS-ADS Document 8 Filed 08/06/20 Page 86 of 86 Page ID #:163

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  Re: Olga Hermosillo, et al. v. County of Orange, et al.
  July 30, 2020

  personally. (See, Sections I.B., I.C., I.H., supra). Finally, Plaintiffs’ claims for
  “prejudgment interest” in subparagraphs 7 and 8 of the Prayer are not allowable against
  these governmental defendants. See, California Civil Code § 3291 (“This section shall
  not apply to a public entity, or to a public employee for an act or omission within the
  scope of employment, and neither the public entity nor the public employee shall be
  liable, directly or indirectly, to any person for any interest imposed by this section.”).

                B. References to the “Fourteenth Amendment” in the First Cause of
                   Action

          Plaintiff Olga’s First Cause of Action appears to be premised on an alleged
  violation of the Fourth Amendment. (See, Complaint for Damages, 9:1-11:25).
  Complaint ¶ 25). This makes sense, as all claims of “excessive force” are to be
  analyzed under the “reasonableness” standard of the Fourth Amendment. See,
  Graham, supra, 490 U.S. at 396. Given that Plaintiff’s claim has a textual root in the
  Fourth Amendment, her multiple references to an alleged violation of the “Fourteenth
  Amendment” (see, Complaint for Damages, 9:7-8, 9:16-17, 11:17, 11:19-20) are
  immaterial and must be stricken. See, Hufford, 249 F.3d at 1151; see also, Albright,
  510 U.S. at 273; Graham, supra, 490 U.S. at 395; Eberle, 901 F.2d at 820.

       IV.      Conclusion

         By rule, Defendants’ response to Plaintiffs’ Complaint must be filed within seven
  days after Defendants’ Notice of Removal is filed. See, Fed. R. Civ. Proc. 81(c)(2)(C).
  We calculate the response deadline to be Thursday, August 6, 2020. Between now and
  then, we are available to discuss any and all of the issues raised herein, and we invite
  you to reach out should you wish to do so.

          If you require additional time to consider the points discussed above, please let
  us know so that we can arrange for an extension of time for Defendants to respond to
  the initial complaint. Local Rule 8-3 permits us to accomplish such an arrangement by
  way of stipulation, and we will work with you to execute and file the appropriate
  stipulation if needed.

           Thank you for your anticipated attention to the foregoing.

                                        Very truly yours,


                                         JESSE K. COX

  JKC/dm
  cc:  Norman J. Watkins, Esq.
       S. Frank Harrell, Esq.
       Marlena R. Mlynarska, Esq.
  4818-5434-8997, v. 1

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